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     JOHN R. LINKOSKY                                                 March 22, 2023
     WALSH V. INTRA NATIONAL HOME CARE                                             1

·1· · IN THE UNITED STATES DISTRICT COURT
·2· · · FOR THE WESTERN DISTRICT
·3· · · · OF PENNSYLVANIA
·4· · · · · · · · · · * * * * * * * * *
·5· · · · · · · · · · · · · · · · · · · · ·*
·6· ·MARTIN J. WALSH, SECRETARY OF LABOR,                    *
·7· ·UNITED STATES DEPARTMENT OF LABOR,· · *
·8· · · ·Plaintiffs· · · · · · · · · · · · *· Case No.
·9· · · ·vs.· · · · · · · · · · · · · · · ·*· 2:21-CV-1391
10· ·INTRA-NATIONAL HOME CARE, LLC, and· · *
11· ·DILLI ADHIKARI,· · · · · · · · · · · ·*
12· · · ·Defendants· · · · · · · · · · · · *
13· · · · · · · · · · · · · · · · · · · · ·*
14· · · · · · · · · · * * * * * * * * *
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16· · · · · · · · · · · · DEPOSITION
17· · · · · · · · · · · · · · OF
18· · · · · · · · · · ·JOHN R. LINKOSKY
19· · · · · · · · · · · March 22, 2023
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     JOHN R. LINKOSKY                                                 March 22, 2023
     WALSH V. INTRA NATIONAL HOME CARE                                             2

·1· · · · · · · · · · · · DEPOSITION
·2· · · · · · · · · · · · · · OF
·3· ·JOHN R. LINKOSKY, taken on behalf of the Plaintiffs
·4· ·herein, pursuant to the Rules of Civil Procedure,
·5· ·taken before me, the undersigned, Benjamin Morrow, a
·6· ·Court Reporter and Notary Public in and for the
·7· ·Commonwealth of Pennsylvania, at the law offices of
·8· ·Obermayer, Rebmann, Maxwell and Hippel, LLP, 525
·9· ·William Penn Place, Suite 1710, Pittsburgh,
10· ·Pennsylvania, on Wednesday, March 22, 2023, beginning
11· ·at 10:00 a.m.
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     JOHN R. LINKOSKY                                                 March 22, 2023
     WALSH V. INTRA NATIONAL HOME CARE                                             3

·1· · · · · · · · · A P P E A R A N C E S
·2· ·ANDREA LUBY, ESQUIRE
·3· ·U.S. Department of Labor
·4· ·Office of the Solicitor
·5· ·Philadelphia, PA· 19103-2968
·6· · · COUNSEL FOR PLAINTIFFS
·7· · · VIA TELEPHONE
·8
·9· ·BRUCE FOX, ESQUIRE
10· ·Obermayer, Rebmann, Maxwell and Hippel, LLP
11· ·525 William Penn Place, Suite 1710
12· ·Pittsburgh, PA· 15219
13· · · COUNSEL FOR DEFENDANTS
14
15· ·HARRY R. RUPRECHT, ESQUIRE
16· ·Fort Pitt Commons Building
17· ·445 Fort Pitt Boulevard, Suite 400
18· ·Pittsburgh, PA· 15219
19· · · COUNSEL FOR DEPONENT
20
21· ·Also Present:
22· ·Hugh McKeegan
23· ·Brian Heeter
24· ·Halim Nardin
25· ·Bill February


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     JOHN R. LINKOSKY                                                 March 22, 2023
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·1· · · · · · · · · S T I P U L A T I O N
·2· ·------------------------------------------------------
·3· ·(It is hereby stipulated by and between Counsel of
·4· ·Record that all objections, except as to the form of
·5· ·the question, are reserved until the time of trial,
·6· ·and it is further stipulated that the reading and
·7· ·signing of the deposition is not waived.)
·8· ·------------------------------------------------------
·9· · · · · · · · · P R O C E E D I N G S
10· ·------------------------------------------------------
11· · · · · · · · · · JOHN R. LINKOSKY,
12· ·CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND
13· ·HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS
14· ·FOLLOWS:
15· · · · · · · · · · · · · ·---
16· · · · · · · · · · · ·EXAMINATION
17· · · · · · · · · · · · · ·---
18· ·BY ATTORNEY LUBY:
19· ·Q.Good morning, Mr. Linkoski.
20· · We met before, but my name is Andrea Luby and I'm
21· ·counsel for the US Department of labor in this case. I
22· ·have a couple of law students, interns who are
23· ·listening in today, Halim Nardin and Billy February.
24· ·Co-Counsel on this case with me is Matthew
25· ·Talman.· He has some other commitments today, but may


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     JOHN R. LINKOSKY                                                 March 22, 2023
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·1· ·be listening in for part of the deposition.
·2· ·I know you're familiar with deposition
·3· ·procedures, but I'm just going to put on the record
·4· ·that the court reporter is creating a transcript of
·5· ·everything that we say today.· Makes it important that
·6· ·you respond to questions verbal, and that verbal
·7· ·responses are clear. Yes or no instead of uh-huh or
·8· ·uh-uh.· Please try to wait for the end of my question
·9· ·before you respond.· If I ask you a question that's
10· ·not clear, please ask me to rephrase it.· I'm happy to
11· ·do that.
12· ·We'll take reasonable breaks.· I usually take a
13· ·break about once an hour.· If we go, probably past ---
14· ·we'll take a lunch break.· But if you need a break
15· ·other than those times, please just let me know.
16· ·There could be objections during this proceeding
17· ·and if that happens, I'll go ahead and discuss that
18· ·with opposing Counsel and so we'll get back to you
19· ·with the question.
20· ·ATTORNEY LUBY:
21· ·Mr. Fox, you're in the room.· Do you
22· ·want to note your presence on the record?
23· ·ATTORNEY FOX:
24· ·Yeah.· And we also have Counsel here for
25· ·John Linkosky.· I'm present on behalf of Defendants.


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     JOHN R. LINKOSKY                                                 March 22, 2023
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·1· ·With me is Hugh McKeegan who will be sitting in for a
·2· ·little while.
·3· ·ATTORNEY RUPRECHT:
·4· ·I'm Harry Ruprecht and I'm here for Mr.
·5· ·Linkosky.
·6· ·ATTORNEY LUBY:
·7· ·Thank you.
·8· ·ATTORNEY FOX:
·9· ·And, of course, we have Brian Heeter in
10· ·the room as well.
11· ·ATTORNEY LUBY:
12· ·Mr. Ruprecht, can you identify your firm
13· ·and your address?
14· ·ATTORNEY RUPRECHT:
15· ·I'm of Counsel with Beyer and Beyer and
16· ·Beyer, and I also have my own practice.
17· ·ATTORNEY LUBY:
18· ·And it's at ET?
19· ·ATTORNEY RUPRECHT:
20· ·I'm at Pittsburgh, Pennsylvania.
21· ·ATTORNEY LUBY:
22· ·Okay. Thanks.
23· ·BY ATTORNEY LUBY:
24· ·Q.Mr. Linkosky, do you have any documents in front
25· ·of you on the table?


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·A.No, just a blank padding.
 ·2· ·Q.Okay.
 ·3· ·And did you bring any documents with you today to
 ·4· ·the deposition?
 ·5· ·A.No, I did not.
 ·6· ·Q.All right.
 ·7· ·Can you hear me clearly?
 ·8· ·A.I can hear you, yes.
 ·9· ·Q.And are you feeling healthy enough to testify
 10· ·today?
 11· ·A.I believe so.
 12· ·Q.And is there any reason why you might not be able
 13· ·to give truthful testimony today?
 14· ·A.Not that I can think of.
 15· ·Q.Are you represented today by Mr. Fox or Mr.
 16· ·Keegan?
 17· ·A.No.
 18· ·Q.But you are represented by Mr. Ruprecht.
 19· ·Correct?
 20· ·A.Yes.
 21· ·Q.Okay.
 22· ·Other than Mr. Ruprecht, did you speak with
 23· ·anyone to prepare for today's deposition?
 24· ·A.No.
 25· ·Q.Did you review any documents to prepare for this


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·deposition?
 ·2· ·A.No.
 ·3· ·Q.Just put some of your background on the record.
 ·4· ·Describe your educational history for me.
 ·5· ·A.How far back?
 ·6· ·Q.Let's start with your college degree.
 ·7· ·A.I have a degree in business administration from
 ·8· ·Wilkes University in Wilkesboro, Pennsylvania.· And I
 ·9· ·have a degree, a law degree, from Duquesne University
 10· ·of Pittsburgh.
 11· ·Q.How long have you been practicing law?
 12· ·A.Approximately 30 years, since 1992.
 13· ·Q.And when did you start working with the US
 14· ·Department of Labor Wage and Hour Division as an
 15· ·employee?
 16· ·A.August of 1961.
 17· ·Q.What was your first position with Wage and Hour?
 18· ·A.I was initially an investigator.
 19· ·Q.Did you have your law degree at that time?
 20· ·A.No.
 21· ·Q.What year did you get your law degree?
 22· ·A.'92.· 1992.
 23· ·Q.How long were you an investigator?
 24· ·A.Exclusively as an investigator, about five years.
 25· ·There was a period of time when I was called an


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      JOHN R. LINKOSKY                                                March 22, 2023
      WALSH V. INTRA NATIONAL HOME CARE                                           12

 ·1· ·enforcement officer.· I got promoted to an Assistant
 ·2· ·District Director.· It was the title at the time.
 ·3· ·They keep changing the titles of the offices.· I had
 ·4· ·the same job as Brian Heeter after five years.
 ·5· ·Q.You reported to the District director at that
 ·6· ·time?
 ·7· ·A.Yes, whatever I was.· Yes.
 ·8· ·Q.Do you remember who the first District Director
 ·9· ·was that you worked under?
 10· ·A.Joseph Cassidy in Wilkes-Barre.
 11· ·Q.Sorry?
 12· ·A.Joseph Cassidy in Wilkes-Barre.
 13· ·Q.Okay.
 14· ·So you were an AD.· You were a middle manager in
 15· ·the Wilkes-Barre office?
 16· ·A.No, I was not.· No, I was not.
 17· ·Q.You were in Pittsburgh?
 18· ·A.Yeah. I'll give you a history if you want me to.
 19· ·Q.Sure, yeah.· Go ahead.
 20· ·A.I trained in Wilkes-Barre.· I was transferred to
 21· ·Baltimore, and I was there until 1965.· And I got
 22· ·promoted to Assistant District Director in Pittsburgh.
 23· ·I reported to Hyman Richmond.· Mr. Richmond retired.
 24· ·I reported to John H. O'Brien.· About that time, I was
 25· ·promoted to be the District Director in Charleston,


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·West Virginia.· I'm Sorry.· It was about 1968.· And I
 ·2· ·took my family down there and made the decision that I
 ·3· ·didn't want to inflict West Virginia on my family.
 ·4· ·And I came back to Pittsburgh as Assistant District
 ·5· ·Director, and I finished up here, retired in 1992.
 ·6· ·I started law school in Duquesne before that.
 ·7· ·Went to night school, and I graduated in 1992 and I
 ·8· ·retired and started ---.
 ·9· ·Q.Congratulations.
 10· ·A.Pardon?
 11· ·Q.What did you do after 1992?
 12· ·A.I started practicing law.
 13· ·Q.Were you a sole proprietor?
 14· ·A.Yes.
 15· ·Q.And what was the name of your firm when you
 16· ·started it?· What was the name of your practice?
 17· ·A.John Linkosky and Associates.
 18· ·Q.And who was your associate?
 19· ·A.I was the associate.
 20· ·Q.Okay.
 21· ·So just to confirm ---.
 22· ·A.My son graduated from law school six years before
 23· ·I did.
 24· ·Q.Did your son join your practice?
 25· ·A.It's not like that.· It wasn't like that.· We


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·practiced individually.
 ·2· ·Q.Okay.
 ·3· ·And that's your son, John Linkosky?
 ·4· ·A.Yes.
 ·5· ·Q.Did you focus on any particular areas of law when
 ·6· ·you became a sole practitioner?
 ·7· ·A.Employment law, essentially limited to Fair Labor
 ·8· ·Standards Act, the related acts, the Wage and Hour
 ·9· ·Division forces, the government contract acts.· That
 10· ·was Bacon, other government contract acts.· I think
 11· ·the Wage and Hour forces were about 70 some different
 12· ·pieces of legislation, because what's drawn in there
 13· ·is all the legislation for the government contracts.
 14· ·I also did age discrimination.· I did the first
 15· ·age discrimination and industry in the Act for
 16· ·successful age discrimination history in the Act.                       I
 17· ·also was very active in equal pay before I was an
 18· ·attorney opposed to those things.· I have --- I think
 19· ·I have one equal pay case since I've been practicing.
 20· ·Mostly estate, double wage and prevailing wage and ???
 21· ·(9:52) and Prevailing Wage Acts.
 22· ·Q.And do you still actively practice law?
 23· ·A.Yeah.· Yes.
 24· ·Q.Did you say you won that age discrimination case
 25· ·last year?


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 ·1· ·A.Not last year.· In 1968.· I did --- I did the
 ·2· ·first age discrimination investigation under the Act
 ·3· ·and it was successfully resolved.· I have a letter
 ·4· ·from Secretary congratulating me.
 ·5· ·Q.Okay.· Thank you for letting me know that.
 ·6· ·Do you have experience representing health care
 ·7· ·companies?
 ·8· ·A.No.
 ·9· ·Q.No?
 10· ·A.No, I don't have experience representing home
 11· ·care companies.
 12· ·Q.What about international?
 13· ·A.I have no experience representing International.
 14· ·Intra-National, by the way.· I-N-T-R-A.
 15· ·Q.Do you have experience representing Intra-
 16· ·National?
 17· ·A.No.· No.
 18· ·Q.I mean, it is right.· So you're familiar with the
 19· ·Defendant in this case?
 20· ·A.Correct.
 21· ·Q.You've seen the caption?
 22· ·A.Yes.
 23· ·Q.And the Defendant --- one of the defendants in
 24· ·this case is Intra-National Home Care, LLC.
 25· ·Correct?


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·A.As I understand it, yes.
 ·2· ·Q.What's your relationship with Intra-National Home
 ·3· ·Care, LLC?
 ·4· ·A.I was hired by Obermayer.· I can't think of the
 ·5· ·other two names, to consult on wage and hour and Fair
 ·6· ·Labor Standards Act and state and overtime act
 ·7· ·situations during that period of time.· I didn't ???
 ·8· ·(11:57) the issue of ---.
 ·9· ·Q.Okay.
 10· ·So you were a consultant with Obermayer.
 11· ·Is that right?
 12· ·A.Yes, yes.
 13· ·Q.And in that role you interacted with Intra-
 14· ·National?
 15· ·A.I don't think that's exactly right.· I did not
 16· ·have direct interaction with Intra-National.
 17· ·Q.Did you have direct interaction with someone
 18· ·named Meg Subedi, S-U-B-E-D-I?
 19· ·A.I met Meg Subedi at times, yes.
 20· ·Q.And you exchanged emails with him?
 21· ·A.Yes, I did several emails.
 22· ·Q.And you had interaction with Dilli Adhikari whose
 23· ·name appears on the caption?
 24· ·A.Yes.· Yes, I did.
 25· ·Q.And that was through email?


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·A.I don't recall emails with Mr. Adhikari
 ·2· ·Q.How did you interact with him then?
 ·3· ·A.I didn't interact with him very much, and the
 ·4· ·term interact seems very much more broad.· We talked
 ·5· ·about that I would be involved, I would be there.                           I
 ·6· ·don't know about if I ever mentioned ---.
 ·7· ·Q.You had meetings where he was in attendance?
 ·8· ·A.Yes.
 ·9· ·Q.Did you have any conference calls where he was on
 10· ·the line?
 11· ·A.I don't recall that.
 12· ·Q.You spoke more frequently with Mr. Subedi.
 13· ·A.I wouldn't characterize it as frequently.
 14· ·Q.More often than you spoke with Mr. Adhikari.
 15· ·Right?
 16· ·A.I can't define that.· I can't say that.
 17· ·Q.Have you been consulting with Obermayer about the
 18· ·Intra-National litigation since 2018?
 19· ·A.Yes, although contact with state, Pennsylvania
 20· ·State ??? (14:53).
 21· ·Q.Now, are you talking about the state
 22· ·investigation of Intra-national or state laws more
 23· ·generally?
 24· ·A.I would say state laws more generally.
 25· ·Q.Okay.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·So you --- what year did you begin your role as a
 ·2· ·consultant with Obermayer?
 ·3· ·A.2018.
 ·4· ·Q.What prompted you to join Obermeyer at that time?
 ·5· ·A.An invitation to do so.
 ·6· ·Q.They reached out to you?
 ·7· ·A.As far as I remember, yes.
 ·8· ·Q.Is that the same year that you were contacted by
 ·9· ·a manager of Intra-National.
 10· ·A.I don't know other than --- I don't remember when
 11· ·I was contacted.· I'm not clear.
 12· ·Q.Have you given Intra-National any legal advice
 13· ·about the Fair Labor Standards Act.
 14· ·A.Define legal advice.
 15· ·Q.Have you given them any advice at all about the
 16· ·Fair Labor Standards Act?
 17· ·A.It's difficult to answer because the word advice
 18· ·is broad.· I can't answer the question.
 19· ·Q.Okay.
 20· ·Did you have any conversation with any managers
 21· ·at Intra-National about the Fair Labor Standards Act?
 22· ·A.Okay.
 23· ·Well, first of all, define managers.· Define who
 24· ·you mean as managers.
 25· ·Q.Let's focus in on Meg Subedi and Dilli Adhikari.


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 ·1· ·Did you have any conversation with Meg Subedi ---
 ·2· ·A.Regarding what?
 ·3· ·Q.---- any conversations about the Fair Labor
 ·4· ·Standards Act?
 ·5· ·A.Yes.
 ·6· ·Q.Yes?· And during those conversations, did you
 ·7· ·communicate to Mr. Subedi that you were not a lawyer
 ·8· ·for Intra-National, that there was no attorney/client
 ·9· ·relationship?
 10· ·A.I don't think that ever came up.
 11· ·Q.I'm sorry.· I didn't get that.
 12· ·A.I'm sorry about my voice, but I don't think that
 13· ·issue ever arose.· Nobody ever asked me that question.
 14· ·Q.Okay.· Okay.
 15· ·Do you attend the deposition of Mr. Adhikari in
 16· ·this case?
 17· ·A.Which one?
 18· ·Q.The case where the caption appears on your
 19· ·subpoena.· Did you attend Mr. Adhikari's deposition in
 20· ·this case?
 21· ·A.No.
 22· ·Q.Did you attend any depositions in this case?
 23· ·A.I attended one.
 24· ·Q.Which one?· Sorry, go ahead.
 25· ·A.I don't remember the date, but I did attend ---


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 ·1· ·but I think it was the first one.
 ·2· ·Q.Do you recall the name of the witness?
 ·3· ·A.Mr. Adhikari.· You asked about that.
 ·4· ·Q.I'm trying to understand the scope of your
 ·5· ·relationship with the Defendants in this case.· Why
 ·6· ·did you attend Mr. Adhikari's deposition?
 ·7· ·A.I was asked to.
 ·8· ·Q.Who asked you?
 ·9· ·A.Obermayer.
 10· ·Q.Did they say why they wanted you to attend?
 11· ·A.Not that I recall.
 12· ·Q.Were you paid for your attendance?
 13· ·A.I'm not sure.· I'm not sure.
 14· ·Q.What's the first time --- tell me about your
 15· ·first --- tell me about the first time that you spoke
 16· ·with Mr. Subedi.
 17· ·A.Oh, I don't remember that.
 18· ·Q.How did you come to be involved at all with
 19· ·Intra-National?
 20· ·A.I was asked by Obermayer to look into some
 21· ·things.
 22· ·Q.Okay.
 23· ·What did they ask you to look at?
 24· ·A.Well, I looked at the Intra-National payroll for
 25· ·June or July 2018, which showed how they were paying


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 ·1· ·direct care workers.
 ·2· ·Q.How were they paying direct care workers?
 ·3· ·A.They were paying hourly.· Well, that record
 ·4· ·showed two different things.· The first three or four
 ·5· ·pay periods, they were paying straight time.· After
 ·6· ·that, they began to pay overtime at an hourly rate of
 ·7· ·time and a half.
 ·8· ·Q.Do you notice any fluctuations in the hourly rate
 ·9· ·after they came to that being paid overtime?
 10· ·A.Well, that occasion was when my job investigator
 11· ·was with me.· He was looking at the records at the
 12· ·same time.· And I did see --- well, he pointed out to
 13· ·me a pay period that was different than the others.
 14· ·The others were clear so many hours overtime, after
 15· ·the 80 hours, at time and a half.· And then down after
 16· ·about three months or so, there was one that was
 17· ·hidden.
 18· ·Q.That was Mr. Ablia?
 19· ·A.I don't remember seeing.
 20· ·Q.What was different?
 21· ·A.The system.· No --- what the obligation --- I
 22· ·can't say it that way.· The hours were fixed.· The
 23· ·number of hours worked in a biweekly pay period were
 24· ·fixed.· And whatever the fixed hours were worked on
 25· ·that pay period, by those pay periods, time and a half


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 ·1· ·which were paid at a specific rate for the hours over
 ·2· ·80.· And that pay period, there was one or two hours
 ·3· ·worked beyond the fixed hours, and the rate was
 ·4· ·reduced from time and a half pay to at the reduced
 ·5· ·rate.
 ·6· ·Q.Did you have any conversations with anyone at
 ·7· ·Intra-National about that practice?
 ·8· ·A.The investigator pointed it out to me as wrong.
 ·9· ·And after ---.
 10· ·Q.Did you agree that it's wrong?
 11· ·A.No, I didn't because there were some questions to
 12· ·as to whether --- at that time, there were some
 13· ·questions.· Let me tell you something.· I would never
 14· ·agree with the Wage and Hour investigators, say and
 15· ·agree that it was wrong at that kind of situation.                        I
 16· ·just wouldn't do that.· I know what he was talking
 17· ·about and I just didn't comment.
 18· ·Q.Okay.
 19· ·Given your expertise in Fair Labor Standards ---
 20· ·the Fair Labor Standards Act, was it your opinion that
 21· ·adjusting an employer's --- an employee's hourly rate
 22· ·of pay inverse to the number of hours that employee
 23· ·worked would violate the statute?
 24· ·A.I don't jump to opinions.· I take my time and I
 25· ·know the situation.· I found out whether or not it was


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 ·1· ·violate.· But at that time wouldn't commit myself to
 ·2· ·one way or the other.
 ·3· ·Q.So you didn't have an opinion at that time, even
 ·4· ·your ---
 ·5· ·A.No, no.· I didn't have an opinion.· I had what
 ·6· ·were alleged to be facts and the determination as to
 ·7· ·whether those facts met the Fair Labor Standards Act
 ·8· ·was something I had to consider.
 ·9· ·Q.Do you have an opinion on that now?
 10· ·A.I found a case that was decided in 2022 saying
 11· ·that was a violation in ??? (24:37).
 12· ·Q.What was the name of that case?
 13· ·A.I can't remember.
 14· ·Q.Was it Comfort Care?
 15· ·A.No.
 16· ·Q.Okay.
 17· ·Do you remember if it was from Pennsylvania?
 18· ·A.I don't remember.· I don't remember where it was
 19· ·from.· No, it wasn't Pennsylvania.
 20· ·Q.Based on that --- say it again.
 21· ·A.It wasn't Pennsylvania.· It was somewhere else.
 22· ·Q.Based on that case that you reviewed, did you
 23· ·reach an opinion about whether Intra-National's pay
 24· ·practice was in compliance with the Fair Labor
 25· ·Standards Act?


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 ·1· ·ATTORNEY FOX:
 ·2· ·Objection to form.
 ·3· ·THE WITNESS:
 ·4· ·I did some further inquiry because
 ·5· ·somebody brought up the Supply, which is cited in the
 ·6· ·Interpretive Bulletin 778.· And I looked at that,
 ·7· ·decided the situation did not match.· And I talked to
 ·8· ·??? (25:44) at that point.· I have never had a clear
 ·9· ·explanation for the Wage and Hour Division, other than
 10· ·you mentioned ??? as to why that was wrong.
 11· ·BY ATTORNEY LUBY:
 12· ·Q.Why what was wrong?
 13· ·A.Why reducing the rate for the hour to their work
 14· ·was wrong.
 15· ·Q.And what about reducing the rate anytime that
 16· ·more or fewer hours are worked in a pay period?
 17· ·ATTORNEY FOX:
 18· ·Objection, form.
 19· ·THE WITNESS:
 20· ·It talks about a single pay period.· It
 21· ·talks about the right of an employer to change the
 22· ·rate of pay.
 23· ·BY ATTORNEY LUBY:
 24· ·Q.I'm talking about multiple pay periods.· Say an
 25· ·employee works 100 hours in one biweekly pay period,


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 ·1· ·and the next day period they were working 120, and the
 ·2· ·next day period they worked 100, and the next pay
 ·3· ·period they work 120.· The regular rate was adjusted
 ·4· ·each of those pay periods.
 ·5· ·ATTORNEY FOX:
 ·6· ·Objection to form.
 ·7· ·BY ATTORNEY LUBY:
 ·8· ·Q.Do you have an opinion about whether that's
 ·9· ·legal?
 10· ·ATTORNEY FOX:
 11· ·Objection to form.
 12· ·THE WITNESS:
 13· ·That's a theoretical question.· I can't
 14· ·answer whether it's legal or not.· Making judgments as
 15· ·to whether or not, ??? (27:09)
 16· ·BY ATTORNEY LUBY:
 17· ·Q.Okay.
 18· ·Do you believe in general that calculating the
 19· ·hourly rate of pay based on the total number of hours
 20· ·worked in a pay period and adjusting that regularly
 21· ·would violate the FLSA?
 22· ·ATTORNEY FOX:
 23· ·Objection to form.
 24· ·THE WITNESS:
 25· ·I have never seen that happen.


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 ·1· ·BY ATTORNEY LUBY:
 ·2· ·Q.Do you recall meeting with Mr. Adhikari at a
 ·3· ·Double Tree Hotel?
 ·4· ·A.Double Tree Hotel where?
 ·5· ·Q.I believe Cranberry, Ohio.
 ·6· ·A.I met with Mr. Adhikari and Mr. Fox at that
 ·7· ·hotel.
 ·8· ·Q.So I'm sorry.· Are you saying I did recall the
 ·9· ·meeting?
 10· ·A.I don't recall that meeting in any kind of
 11· ·detail.· I just know that it happened.
 12· ·Q.Okay.
 13· ·Do you recall the topic of the meeting?
 14· ·A.As I said, I don't recall in detail what the
 15· ·topic was.
 16· ·Q.Do you recall in general?
 17· ·A.What?
 18· ·Q.What do you recall about the topic?
 19· ·A.As I say, I don't --- I don't have much
 20· ·recollection about any single topic.· Excuse me.                          I
 21· ·don't have any recollection about any single topic
 22· ·that was discussed if --- I just ??? (28:58).
 23· ·Q.Did you keep any notes from any of your meetings
 24· ·with Intra-National?
 25· ·A.That's not my practice.· No, I did not.


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 ·1· ·Q.Did you send billing records to Obermayer for
 ·2· ·your meetings with Intra-National?
 ·3· ·A.I charged Obermayer ??? (29:35)
 ·4· ·Q.And make invoices for those charges?
 ·5· ·A.I don't make invoices.
 ·6· ·Q.What kind of records ---?
 ·7· ·A.Excuse me.· What do you mean by invoices?· I was
 ·8· ·paid for the hours I worked, period.
 ·9· ·Q.Okay.
 10· ·That was in writing?
 11· ·A.No, it wasn't in writing.
 12· ·Q.How did you make the claim then?
 13· ·A.It was typed.
 14· ·Q.It was tracked?
 15· ·A.Typed.· T-Y-P-E-D.
 16· ·Q.Oh.· Okay.· How was it timed?
 17· ·A.I'm sorry?
 18· ·ATTORNEY FOX:
 19· ·He said it was typed.· Typed.
 20· ·THE WITNESS:
 21· ·With a typewriter.
 22· ·BY ATTORNEY LUBY:
 23· ·Q.Typed.· Okay.
 24· ·Do you type it yourself?
 25· ·A.No.


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 ·1· ·Q.Who typed it?
 ·2· ·A.My secretary.
 ·3· ·Q.When did you retain a secretary?
 ·4· ·A.From my grandfather.
 ·5· ·Q.Of those typed documents?
 ·6· ·A.I don't understand the question.
 ·7· ·Q.I assume they were typed.· They were typed on
 ·8· ·paper.
 ·9· ·Is that right?
 10· ·A.Oh, sure.
 11· ·Q.Do you have copies of those papers?
 12· ·A.Not for many.· I don't keep those.
 13· ·Q.Did the typed records include a description of
 14· ·the work that you performed during those hours?
 15· ·A.What do you mean by description?
 16· ·Q.Words talking about what you performed.
 17· ·A.Not in detail.
 18· ·Q.How was your work described on those typed
 19· ·documents?
 20· ·A.Just typed.
 21· ·Q.Did it say anything about what you did in, say,
 22· ·legal research or conversations with the employer or
 23· ·review of records?
 24· ·A.There would be --- there would be such as that.
 25· ·Q.About how many times have you met with Mr.


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 ·1· ·Subedi?
 ·2· ·A.I can't tell.· I can't give you.· It's hard to
 ·3· ·tell the amount of time.
 ·4· ·Q.More than five?
 ·5· ·A.I don't know.· I can't tell you.· I couldn't give
 ·6· ·you any reasonable answer to that.
 ·7· ·Q.More than 75?
 ·8· ·A.Of course not.· Of course not.
 ·9· ·Q.Of course not?
 10· ·A.No.
 11· ·Q.During your meetings with Mr. Subedi, what were
 12· ·the general topics of those meetings?
 13· ·A.I only --- I only had conversations with Mr.
 14· ·Subedi about practices of Intra-National --- specific
 15· ·practices of Intra-National related to Fair Labor
 16· ·Standards Act compliance.
 17· ·Q.Did you give Mr. Subedi any advice about how to
 18· ·bring those or how to have those practices comply with
 19· ·the FLSA.
 20· ·A.I can't --- that's a difficult thing to answer
 21· ·because there was a great deal of difficulty in
 22· ·getting information from his facility.· And it was
 23· ·very difficult to get definitive answers without lack
 24· ·--- with the lack of information.· And so more
 25· ·definitive is important.· I have asked for information


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 ·1· ·about certain practices and I --- to this day, I
 ·2· ·haven't received the support for the practices.· So
 ·3· ·you don't give me an opinion as to whether or not
 ·4· ·those practices were correct unless you saw --- unless
 ·5· ·I saw it.· I don't take opinions out of thin air.
 ·6· ·Q.What practices are you talking about?
 ·7· ·A.This whole program is unlike anything I've ever
 ·8· ·seen with a Fair Labor Standards Act issue.· It's a
 ·9· ·dedicated waiver program.· I was familiar with it
 10· ·before Obermayer.· It is established by the US
 11· ·Department of Health and Human Services.· All the
 12· ·rules and regulations of its implementation and
 13· ·continuation were established by that agency.· It
 14· ·delegated the authority and responsibility to create a
 15· ·program and govern it to the State of Pennsylvania and
 16· ·the other states by the way.· Every state has that.
 17· ·So all the responsibilities were laid down by the
 18· ·Department of Human Services and all the authority was
 19· ·laid down under Department of Human Services and said
 20· ·to Pennsylvania, okay, do it.· Pennsylvania, their
 21· ·responsibility was to determine the eligibility of an
 22· ·applicant for the waiver, which is based on income.
 23· ·They had to be Medicaid recipients first, and that was
 24· ·established.
 25· ·An individual called a service coordinator who


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 ·1· ·would determine the services that needed to be paid,
 ·2· ·to be given to that individual.· And that would
 ·3· ·involve an extensive inquiry.· Doctors, all kinds of
 ·4· ·people who served that individual.· They would prepare
 ·5· ·what was called an individual service plan.· That
 ·6· ·defined the duties of any individual who was going to
 ·7· ·provide the services.
 ·8· ·They would then decide what hours they were going
 ·9· ·to decide to provision of each duty.· I inquired of
 10· ·the service coordinator one time how that was done,
 11· ·because here we were talking about the hours worked
 12· ·relative to Fair Labor Standards Act claim.· I was
 13· ·told it was done by algorithm.· So they would
 14· ·establish that.
 15· ·And then the recipient of the services, 98
 16· ·percent of the time was selected to provision the
 17· ·provider of the services called the direct care
 18· ·worker.· That person was the nominal provider of
 19· ·services and had to be vetted, according to --- US
 20· ·Department of Health and Human Services had very
 21· ·specific requirements, as you think of that, and that
 22· ·would have to be done.
 23· ·Once that was done, that individual, every two
 24· ·weeks, according to the state rule, would submit a
 25· ·record of hours worked.· That record of hours worked


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 ·1· ·is almost identical to the approved hours determined
 ·2· ·by the service coordinator.
 ·3· ·I had serious questions one time because if they
 ·4· ·said it's going to take an hour to prove --- to
 ·5· ·provide breakfast to Grandpa, and Grandpa didn't eat
 ·6· ·breakfast, under the Fair Labor Standards Act, it's a
 ·7· ·problem, a question.· And I'm looking at this from the
 ·8· ·Fair Labor Standards Act.· If I'm ever going to deal
 ·9· ·with it, I'm looking at it from that standard. I
 10· ·highly questioned whether or not those hours are
 11· ·always worked precisely.· So that, to me, presented a
 12· ·problem that had to be --- should have been addressed.
 13· ·It had to be addressed in any Fair Labor Standards Act
 14· ·action.
 15· ·They later got to the point --- oh, at that time
 16· ·that I looked at it, they were using county employees
 17· ·as service coordinators.· They got around to stopping
 18· ·that sometime, I can't tell you when, a higher order
 19· ·called managed care organizations.· Managed care
 20· ·organization assumed all the responsibilities and
 21· ·authorities that I have described, requirements of the
 22· ·state, including hiring service coordinators.· That's
 23· ·the first --- the managed care organizations decide
 24· ·whether the time is correct for all this, all that
 25· ·sort of thing.· And the Fair Labor Standards Act issue


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 ·1· ·considering it was my opinion that somewhere, it was
 ·2· ·either the state or the managed care organizations who
 ·3· ·were the employers for the issue under the Fair Labor
 ·4· ·Standards Act case.
 ·5· ·Now, one time they were still using county
 ·6· ·people.· They hired separate entities.· I'm thinking
 ·7· ·of a situation where I saw associations for retarded
 ·8· ·children.· The associations for retarded children
 ·9· ·interviewed perspective direct care workers according
 10· ·to the rules of the federal agency.· You had a direct
 11· ·care worker if you met the rules.· Now, they weren't
 12· ·based on their own rules.· They had to use those.
 13· ·The hours worked would be submitted to them and
 14· ·then submitted to the county for approval.· After they
 15· ·were approved for funding, but everybody would ???
 16· ·(42:38) us on sample records.· What's happening?· Was
 17· ·the approved hours approved for the hours.· Hours
 18· ·approved by the service coordinator were the hours
 19· ·that were being reported as worked.· And for a wage
 20· ·and hour --- old wage and hour hand, ask a question.
 21· ·Right?· And that discretely whatever had to deal with
 22· ·yourself.· I have to wonder if it was hours
 23· ·inspection.
 24· ·Q.Is that something you talked about with Intra-
 25· ·National's managers?


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 ·1· ·A.No.
 ·2· ·Q.No?
 ·3· ·A.No.
 ·4· ·Q.Did you talk with Mr. Adhikari or Mr. Subedi
 ·5· ·about whether the managed care organizations were the
 ·6· ·employee --- sorry, the employers of the direct care
 ·7· ·workers?
 ·8· ·A.No, no.
 ·9· ·Q.No.· When you spoke with Mr. Subedi, did he
 10· ·express concern about the cost of overtime premium
 11· ·pay?
 12· ·A.Not that I recall.
 13· ·Q.Did he discuss the difficulties of paying
 14· ·overtime premium pay, given the flat rate
 15· ·reimbursement that Intra-National received?
 16· ·A.I don't recall that I ever had that discussion
 17· ·with Mr. Subedi. I don't remember ever having that
 18· ·discussion with Mr. Subedi.· I was told one time, I
 19· ·don't remember where I heard it, that Intra-National
 20· ·asked about the culture of overtime, that it was
 21· ·denied.· The state had increased the rates.· But
 22· ·that's just something that's in my mind that I can't
 23· ·tell you anything with detail about that, that kind of
 24· ·thing.
 25· ·Q.Maybe you can clear something up for me.· At the


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 ·1· ·deposition that you attended, Mr. Adhikari testified
 ·2· ·that Intra-National found you on Google and reached
 ·3· ·out to you.
 ·4· ·Do you agree with that?
 ·5· ·A.No, I don't know if I heard it.· If I heard it, I
 ·6· ·would disagree, because that was not the way I was
 ·7· ·retained.· I was retained by Obermayer.· It's pretty
 ·8· ·hard to find me on Google.
 ·9· ·Q.I don't think it's too hard to find you on
 10· ·Google.· Let's see.· Do you have an estimate of how
 11· ·many hours you've billed Obermayer for your work with
 12· ·Intra-National?
 13· ·A.No.
 14· ·Q.Be it more than 100?
 15· ·A.I can't speculate about that.
 16· ·Q.There's been some testimony in this case that
 17· ·Intra-National managers have met with you hundreds of
 18· ·times.
 19· ·Do you agree with that?
 20· ·A.That's not true.· That's not true.
 21· ·Q.In your consulting work, is it your regular
 22· ·practice to keep written records of your conversations
 23· ·with employers?
 24· ·A.Conversations with employers?· I don't to be
 25· ·honest.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Q.What was your most recent in-person meeting with
 ·2· ·a manager of Intra-National?
 ·3· ·A.I don't remember.
 ·4· ·Q.Was it this year?
 ·5· ·A.Describe meeting because I attended --- I
 ·6· ·attended some depositions, but I didn't have one that
 ·7· ·I would call a meeting.· I was in their presence.                         I
 ·8· ·don't recall having any 2023 ---
 ·9· ·Q.Did you have any meetings with any Intra-National
 10· ·managers in 2022?
 11· ·A.Well, we left 2023.· Well, yeah.· We did speak to
 12· ·some.
 13· ·Q.What did you talk about during that meeting?
 14· ·A.Potential depositions.
 15· ·Q.In this case?
 16· ·A.Yeah.
 17· ·Q.Was anything else discussed?
 18· ·A.Oh, I can't remember the details on discussions,
 19· ·informal discussions with people.
 20· ·Q.And in 2022, did you review any of Intra-
 21· ·National's payroll records?
 22· ·A.I don't think so.· I don't --- I should say I
 23· ·don't recall.· I'm sorry.
 24· ·Q.After your initial review of their records when
 25· ·they switched from paying straight time to overtime


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·until, as you said, they started paying overtime, did
 ·2· ·you review your records at any --- their records at
 ·3· ·any point after that?
 ·4· ·A.Not that I recall.· No, I just put that ???
 ·5· ·(49:20).· And then those records were ??? as far as I
 ·6· ·understand.
 ·7· ·Q.Okay.
 ·8· ·A.They provided to me ???.
 ·9· ·Q.So that was during Wage and Hours' investigation?
 10· ·A.Well, that's when the investigation started, when
 11· ·I looked at one payroll record that he investigated.
 12· ·And the frequent was to, like, deal out with those
 13· ·records because hopefully, COVID, they weren't going
 14· ·into the establishments, as far as I know.· And so
 15· ·those records were handed over to the Department of
 16· ·Labor.
 17· ·Q.And were you involved in giving those records to
 18· ·the Department of Labor?
 19· ·A.Not involved.· I arranged ??? (50:17)· They're
 20· ·entitled to the refugee ??? because of the
 21· ·circumstances.· That's kind of an unusual thing.· The
 22· ·circumstances were unusual.· I don't think that Wage
 23· ·and Hour was allowing their investigators to go into
 24· ·establishments at the time.
 25· ·Q.Because of COVID?


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      JOHN R. LINKOSKY                                                March 22, 2023
      WALSH V. INTRA NATIONAL HOME CARE                                           38

 ·1· ·A.Yeah.
 ·2· ·Q.Was there a discussion with Wage and Hour at any
 ·3· ·point about Intra-National transcribing the records?
 ·4· ·A.Yes.· Intra-National was to --- requested to
 ·5· ·transcribe ??? (51:04) Yeah.
 ·6· ·Q.And what does transcribe mean, just for people
 ·7· ·who might be less familiar with the Wage and Hour
 ·8· ·network terminology?
 ·9· ·A.Copy, copy.
 10· ·Q.Copy?
 11· ·A.Yeah.
 12· ·Q.Like with a photograph here.
 13· ·A.Yes.· But if you're doing transcriptions, you're
 14· ·doing calculations.· You have to do the one something.
 15· ·You can't photocopy something that doesn't exist.
 16· ·Q.So what actually ---?· Tell me this, what does a
 17· ·transcription look like?
 18· ·A.Oh, I can't describe a transcription.
 19· ·Q.Is it an Excel file?
 20· ·A.I don't know what an Excel file is.· I am
 21· ·technologically ---.
 22· ·Q.Does a transcription involve pulling data from a
 23· ·payroll record, putting it into a different format?
 24· ·A.I don't know.· It could be lots of different
 25· ·things.· It could be --- I think the best people to


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·ask about that is where ??? (52:09) if they did it.
 ·2· ·Not me because I've ---. they get into reference.
 ·3· ·Q.Did you speak with Mr. Subedi about how to do the
 ·4· ·transcription?
 ·5· ·A.No.
 ·6· ·Q.Did you speak with Mr. Subedi about doing a back
 ·7· ·wage computation?
 ·8· ·A.Not that I remember.
 ·9· ·Q.Did you speak with anyone at Intra-National about
 10· ·that?
 11· ·A.Not that I remember.· Turn the records over for
 12· ·DOL to do what they were going to do it.· Otherwise,
 13· ·the DOL, as a routine, would come into the employer's
 14· ·establishment, get the records, copy in effect.· In
 15· ·fact, I think in the first instance, the investigator
 16· ·made some copies, transcriptions, wage hour languages,
 17· ·transcriptions.· That guy, that guy made some
 18· ·transcriptions of the records.· How much he did, I
 19· ·don't know.
 20· ·The idea was --- my understanding was the Wage
 21· ·Hour was not permitting the employees to go into
 22· ·establishments.· That would have been the normal
 23· ·course of business.· So they're entitled to the
 24· ·records.· The easy thing is to give them to them and
 25· ·let them do whatever they're going to do.· And that


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      JOHN R. LINKOSKY                                                March 22, 2023
      WALSH V. INTRA NATIONAL HOME CARE                                           40

 ·1· ·way you don't have a problem.
 ·2· ·Q.Did you have any discussions with Intra-National
 ·3· ·or its managers about a state audit in 2018?
 ·4· ·A.I don't recall having any direct contact with
 ·5· ·anybody from Intra-National.· I spoke to a state
 ·6· ·investigator about their prospect of an investigation.
 ·7· ·Q.Tell me about that discussion.
 ·8· ·A.In summary, they're already under investigation
 ·9· ·by the US Department of Labor, and it's only a ???
 10· ·(54:21) new deal ??? Please.
 11· ·Q.Did the same agency agree?
 12· ·A.Yes.
 13· ·Q.The first time that you spoke with anyone at
 14· ·Intra-National, were they paying straight time for
 15· ·overtime on the records?
 16· ·A.I can't answer that question because the record I
 17· ·saw had some of that that they had done that --- they
 18· ·had done it in the past.· The first record I saw were
 19· ·paid overtime at time and a half.
 20· ·Q.Okay.
 21· ·Did you tell anyone at Intra-National that the
 22· ·FLSA required them to pay overtime at time and half?
 23· ·A.No, because they ---.
 24· ·ATTORNEY FOX:
 25· ·Object to the form.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·You can answer.
 ·2· ·THE WITNESS:
 ·3· ·--- ??? (55:24)· They were doing it.
 ·4· ·There's no need for me to tell them.
 ·5· ·BY ATTORNEY LUBY:
 ·6· ·Q.Okay.
 ·7· ·Have you ever told anyone at Intra-National that
 ·8· ·the FLSA requires them to keep track of weekly hours
 ·9· ·worked as opposed to biweekly hours worked?
 10· ·A.No, I did not.
 11· ·Q.Okay.
 12· ·When you reviewed their records, did you notice
 13· ·that they only recorded biweekly hours worked?
 14· ·A.My review of the records was limited to what I
 15· ·just described.· And I knew for in the program, the
 16· ·state program, that records of hours worked was
 17· ·submitted for payment biweekly.· You could tell ---.
 18· ·Q.Sorry.· Go ahead.
 19· ·A.You could tell, I mean, they're paying overtime
 20· ·after 80 hours.· My concern as a Wage Hour
 21· ·investigator would be over 80 hours, meaning always
 22· ·over 40.· That would be the concern.· There's no
 23· ·question for me very little of the records that I saw,
 24· ·and they were limited, but that was compliance.· If
 25· ·they paid over 80, that was one circumstance, was


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·compliant.
 ·2· ·Q.If the employee worked 20 hours in the first week
 ·3· ·and 60 hours in the second week of the biweekly pay
 ·4· ·period, they required maybe a total 20 hours of
 ·5· ·overtime, but it's only 80 hours?· Where ---?
 ·6· ·ATTORNEY FOX:
 ·7· ·Objection to form.
 ·8· ·THE WITNESS:
 ·9· ·Well, that issue came up with me in my
 10· ·mind later, because the --- what didn't happen in this
 11· ·case was the Wage and Hour Division never verified the
 12· ·accuracy of records, as far as I know.· And I thought
 13· ·that was a major failure because of what you just
 14· ·mentioned.
 15· ·I also think there was a major failure
 16· ·because there were multiple members of the family.· So
 17· ·what you just described, if A was being paid for ---
 18· ·to pay working 35 hours a week, but half of that was
 19· ·B, then the overtime liability was reduced, and I
 20· ·think that should be --- should have been addressed.
 21· ·See, I'm an old-fashioned Wage Hour guy.· One of the
 22· ·things always we've done was to verify the accuracy of
 23· ·the records.· Making assumptions, you brought up a
 24· ·good reason for those assumptions, for not making
 25· ·assumptions.· You see 80 hours.· That's quite ???


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 ·1· ·(58:34) to answer the question.
 ·2· ·But I don't see the Wage Hour in this
 ·3· ·case, from what I have seen in their calculations,
 ·4· ·ever made any determination of the accuracy of the
 ·5· ·hours worked.
 ·6· ·Q.But Intra-National didn't have records of weekly
 ·7· ·hours worked.
 ·8· ·Right?
 ·9· ·A.You could look at the ISP and find it out.· I'm
 10· ·sorry.· The individual service plan can tell you how
 11· ·many hours were to be worked.· In my opinion, the
 12· ·proper investigative process would seek out the
 13· ·individual service plans and determine what the hours
 14· ·we worked. I saw records 15 hours a day, 7 days a
 15· ·week.· No human being is going to work 15 hours a day,
 16· ·7 days a week.· That was quite well explained.· That's
 17· ·what the Wage and Hour Division calculated.
 18· ·And it's just not possible, in my opinion.· It's
 19· ·been 60 years involved with this.· And somebody says
 20· ·they work 105 hours a week, they could only sleep for
 21· ·8 or 9 hours a day for someone.
 22· ·Q.But you didn't discuss that with anyone at Intra-
 23· ·National.
 24· ·Correct?
 25· ·A.No, I did not because I think it should have been


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·discussed with the Wage and Hour Division.· We never
 ·2· ·had that opportunity to discuss it with the Wage and
 ·3· ·Hour Division because of other problems, things ???
 ·4· ·(1:00:21)· They never held the final conference
 ·5· ·telling us ---.
 ·6· ·Q.We can talk about that later, but let me ask you
 ·7· ·another question.
 ·8· ·ATTORNEY FOX:
 ·9· ·Well, let the witness finish his --- the
 10· ·witness was answering.
 11· ·ATTORNEY LUBY:
 12· ·He's not being responsive.
 13· ·ATTORNEY FOX:
 14· ·Please don't interrupt his answer.
 15· ·ATTORNEY LUBY:
 16· ·Can I have the court reporter read the
 17· ·question back, please?
 18· ·THE WITNESS:
 19· ·Do you want me to finish the answer?
 20· ·ATTORNEY LUBY:
 21· ·Let the court reporter read the question
 22· ·back please.
 23· · · · · · · · · · · · · ·---
 24· ·(WHEREUPON, THE PREVIOUS QUESTION WAS READ BACK.)
 25· · · · · · · · · · · · · ·---


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·THE WITNESS:
 ·2· ·It was called the service plan.· And
 ·3· ·they were stereotyped.· The records are definitely ---
 ·4· ·once they were established, the only --- I think they
 ·5· ·were the only records anybody had to deal with.
 ·6· ·What was reported to Intra-National or
 ·7· ·anybody in Intra-National's position, by the way, I
 ·8· ·don't want to say specifically Intra-National.
 ·9· ·Anybody in Intra-National's position were biweekly
 10· ·records.
 11· ·This had to be the State of
 12· ·Pennsylvania.· I don't know that for sure.· Biweekly
 13· ·records signed by the recipient of services and the
 14· ·direct care worker.· And those that I saw, not related
 15· ·to Inter-National, that's what they were.· So
 16· ·everybody's working seven days a week.· So you can see
 17· ·2 weeks, 14 days, and it split it because the ISP says
 18· ·those are the hours you can work, and that's what
 19· ·you're reporting.· We do have the record on a weekly
 20· ·basis because all you have to do is center it.
 21· ·But the problem is, from my standpoint,
 22· ·when I saw those not here, I saw something like that
 23· ·for the first time under this program.· First thing
 24· ·that came to mind, if there's a Wage Hour
 25· ·investigation, this should be questioned.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·BY ATTORNEY LUBY:
 ·2· ·Q.And is that the end of the response?
 ·3· ·A.Yes.
 ·4· ·ATTORNEY LUBY:
 ·5· ·Okay.
 ·6· ·Let's go ahead and take a ten-minute
 ·7· ·break.
 ·8· ·ATTORNEY FOX:
 ·9· ·Sounds good.
 10· · · · · · · · · · · · · ·---
 11· ·(WHEREUPON, A SHORT BREAK WAS TAKEN.)
 12· · · · · · · · · · · · · ·---
 13· ·BY ATTORNEY LUBY:
 14· ·Q.I'm going to talk with you about Wage and Hours
 15· ·investigation.· Did you attend the opening conference?
 16· ·A.There was no opening conference.· What happened
 17· ·was the investigator showed up to look at the records.
 18· ·And I did meet with that investigator, which I've
 19· ·described already.· But there was no typical Wage Hour
 20· ·opening conference.· The only thing that I've seen
 21· ·telling Intra-National what would go on is the typical
 22· ·deployment letter --- appointment letter saying the
 23· ·guy's going to show up a certain time.· ·And that was
 24· ·delayed for months, three months, because I think it
 25· ·was January 2020.· So that was the investigator.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Q.And as far as you know, that was the
 ·2· ·investigator's first visit to Intra-National's office?
 ·3· ·A.As far as I know, yeah.
 ·4· ·Q.At that time, were you representing Intra-
 ·5· ·National as their attorney?
 ·6· ·A.That was the time --- not as their attorney.                      I
 ·7· ·was consulting with Obermayer.· I never regarded
 ·8· ·Intra-National as my client, by the way.· But that was
 ·9· ·the first act that I took on behalf of Intra-National,
 10· ·as far as I recall.
 11· ·Q.How did --- how did you know there was going to
 12· ·be an opening conference that day?
 13· ·A.Well, this whole investigation didn't go
 14· ·typically, and I think it's because of COVID.· There
 15· ·was no sit-down opening conference, well, we're going
 16· ·to do this, we're going to do that and this is going
 17· ·to --- what questions do you have.· That didn't
 18· ·happen.· And, of course, neither was there a final
 19· ·conference.
 20· ·Q.Okay.
 21· ·But I need you to answer my question, and my
 22· ·question is, how did you know Wage and Hour was going
 23· ·to go to Intra-National's work site that day?
 24· ·A.There was a letter.· They sent a letter saying
 25· ·those arrangements were made.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Q.How did you get a copy of the letter?
 ·2· ·A.I don't recall that.· I don't recall that.
 ·3· ·Q.Was your first --- I'm just trying to understand
 ·4· ·how you got involved in this case?
 ·5· ·A.Because Bruce Fox asked me to get involved.
 ·6· ·Q.Okay.
 ·7· ·And that was before January 2020?
 ·8· ·A.Sometime, but I don't remember when.                   I
 ·9· ·originally got involved because of the state case.
 10· ·Q.Okay.
 11· ·A.And I was involved in other cases.· It wasn't
 12· ·only this one.· There were others.
 13· ·Q.Okay.
 14· ·Sorry.· Go ahead.· The state case was in 2019?
 15· ·A.Yeah.
 16· ·Q.I'm sorry.· Is that yes?
 17· ·A.Yes, I'm sorry.
 18· ·Q.That's all right.
 19· ·At any point during Wage and Hours investigation,
 20· ·did you tell any of Intra-National's managers that the
 21· ·company was not an employer of the home care workers?
 22· ·A.No.
 23· ·Q.And you had --- well, first of all, who's Brian
 24· ·Heeter?
 25· ·A.Well, Mr. Heeter is an Assistant District


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Director of the Pittsburgh office.· He's brilliant in
 ·2· ·that position.· He's very, very good.
 ·3· ·Q.I agree.
 ·4· ·Did you have a call with ---.
 ·5· ·ATTORNEY FOX:
 ·6· ·Note for the record, Mr. Heeter's
 ·7· ·sitting here.
 ·8· ·BY ATTORNEY LUBY:
 ·9· ·Q.Did you have a call with Mr. Heeter after the
 10· ·investigator's initial visit to discuss the
 11· ·investigation?
 12· ·A.That's too broad a question.· I had some --- I
 13· ·had some discussions with Mr. Heeter.
 14· ·Q.Do you have the exhibits --- oh, go ahead.
 15· ·A.Can I finish?
 16· ·Q.Sure.
 17· ·A.I had some discussions with Mr. Heeter on
 18· ·specific things, and one of them was the failure to
 19· ·hold the final conference.· That was the most serious
 20· ·one as far as I was concerned.
 21· ·Q.I'm sorry.· I didn't catch that.· The most
 22· ·serious one was what?
 23· ·A.Failure to hold a final conference.· What
 24· ·happened here is the DOL's position when there's an
 25· ·out-of-state employer, Intra-National in Ohio, so this


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 ·1· ·office in Pittsburgh had to send it to Ohio as far as
 ·2· ·I recall, to hold the final conference.· I asked
 ·3· ·Brian, why wasn't it held?· That's what he told me,
 ·4· ·but it was never held.· That's a very disturbing point
 ·5· ·in this whole thing.
 ·6· ·Q.Well, I want to start a little bit earlier than
 ·7· ·that.· Do you have the exhibit book?· I believe Mr.
 ·8· ·Heeter's got it.
 ·9· ·A.That's the efficiency of Mr. Heeter I was talking
 10· ·about.· I have Exhibits 23, 22, 21.
 11· ·Q.So let's take a look at the exhibit behind tab
 12· ·29.· It says Exhibit 29.
 13· ·A. Yeah.
 14· ·ATTORNEY LUBY:
 15· ·I'll mark that for the record as Exhibit
 16· ·29.
 17· · · · · · · · · · · · · ·---
 18· ·(Wherefore, Linkosky Deposition Exhibit
 19· ·29, E-mail, dated 2/3/20, was marked for
 20· ·identification.)
 21· · · · · · · · · · · · · ·---
 22· ·BY ATTORNEY LUBY:
 23· ·Q.And feel free to take a minute to look through
 24· ·that.
 25· ·A.Yeah, that's right.· Okay.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Q.Just look up at me when you're done reading it.
 ·2· ·A.Okay.
 ·3· ·I didn't read the whole thing.· What parts of it
 ·4· ·are you interested in?
 ·5· ·Q.Sure.· I'll direct your attention.· So this is an
 ·6· ·email from Brian Heeter.
 ·7· ·Correct?
 ·8· ·A.Yeah, yes.
 ·9· ·Q.And it's dated February 3rd, 2020?
 10· ·A.Yes.
 11· ·Q.And sent it to you.
 12· ·Correct?
 13· ·A.Yes.
 14· ·Q.Okay.
 15· ·And Subject here is Intra-National plan of action
 16· ·for records and 541 exemptions.
 17· ·Do you see that?
 18· ·A.Yeah.· Okay.
 19· ·Q.And so Mr. Heeter is sending this email as
 20· ·follow-up to a call about Intra-National on Friday.
 21· ·Do you remember that call?
 22· ·A.No.
 23· ·Q.Okay.
 24· ·Do you remember a plan of action being developed
 25· ·with Wage and Hour to complete this investigation or


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·for any investigation to complete the back wage
 ·2· ·computations?
 ·3· ·A.I don't see a direct reference to back wage
 ·4· ·calculations.· If you'll give me some guidance as to
 ·5· ·what you're talking about maybe I can ---.
 ·6· ·Q.Sure.· If you look under the paragraph that has a
 ·7· ·heading January 2017 payroll and August 2018, it says
 ·8· ·--- it appears that your clients paid these workers ST
 ·9· ·for OT on the records in January 2017 and August 2018.
 10· ·Do you see that?
 11· ·A.No.
 12· ·Q.And then it says you proposed that Intra-National
 13· ·transcribe these violations for all affected employees
 14· ·and submit the results to WHD for verification.· What
 15· ·do you remember about that agreement for Intra-
 16· ·National to transcribe the violations?
 17· ·A.I don't remember anything about it as a matter of
 18· ·fact.· I think what's here is what happened.· My
 19· ·recollection is that records were sent to the
 20· ·Department of Labor.· They did the transcriptions.· In
 21· ·fact, I think there were more than one person, which
 22· ·is understandable, doing the transcriptions, that is
 23· ·copying the records so they could do calculations.
 24· ·I have seen copies of the calculations and
 25· ·they're stereotyped.· You know, it just shows each pay


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·period.· Well, it considers that a salary was paid,
 ·2· ·converted to show that the result of dividing the
 ·3· ·standard hours, fixed hours, into the gross pay came
 ·4· ·to within a few cents of $13.00, $13,04 or $13.06.
 ·5· ·And that they continued as a result.· That's what I've
 ·6· ·seen.· That was what --- the intent was to meet the
 ·7· ·requirements, providing them the information they need
 ·8· ·to do the investigation.· There's no sense in
 ·9· ·resisting that.
 10· ·They had COVID problems.· They couldn't send
 11· ·people around.· So the idea was do everything to
 12· ·convenience the conduct of the investigation to get it
 13· ·over with.· I mean, there's no sense in resisting Wage
 14· ·Hour's right to see records.· That's nonsense.
 15· ·Q.Sure.· So just following up on something you said
 16· ·there, you said you reviewed Wage Hours' computations.
 17· ·What do you mean by that?
 18· ·A.Oh, months later when you submitted them.· They
 19· ·were submitted as part of discovery.
 20· ·Q.In this lawsuit?
 21· ·A.Don't use the term reviewed in the context of I
 22· ·looked at every one.· I looked at samples.· I mean,
 23· ·when there's 2,000 people involved, I wasn't going to
 24· ·sit and charge Obermayer $450 an hour for looking at
 25· ·the same thing over and over and over.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Q.Fair enough.· I want to look where it says
 ·2· ·manipulation of rates.
 ·3· ·A.Okay.
 ·4· ·Q.Brian's writing to you that your records show
 ·5· ·that certain employees' rates were changed depending
 ·6· ·on the number of hours they worked.
 ·7· ·Did you look into that after you received this
 ·8· ·email?
 ·9· ·A.Oh, I saw it the first time I looked at the
 10· ·record.· The investigator pointed it out to me.                       I
 11· ·didn't look to see how often it happened until I saw
 12· ·the calculations.· And I looked to see if it was
 13· ·sporadic, if there was a pattern to it.· There wasn't.
 14· ·There were people who that never happened to and it
 15· ·happened a few times to some people.· I don't think it
 16· ·happened --- my personal opinion was I didn't think it
 17· ·happened as much as frequently to show some kind of
 18· ·plot to violate the law.· I think that it was done
 19· ·where it occurred, just the instances where the fixed
 20· ·hours were exceeded.
 21· ·And, you know, running through my mind at that
 22· ·time was, what are the managed care organizations
 23· ·doing, because what they were doing is forwarding that
 24· ·information to ---.· DCW, Direct Care Worker, and the
 25· ·recipient submitted that to the managed care


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 ·1· ·organization.· They got the records first.· Managed
 ·2· ·care organization made the decisions and what hours
 ·3· ·would be paid.
 ·4· ·They sent it on to Intra-National, in effect
 ·5· ·saying, pay these hours.· So that's the sequence of
 ·6· ·it.· Intra-National didn't make any decision about
 ·7· ·paying hours.· That was made by BMC only.· And, of
 ·8· ·course, I saw that example.
 ·9· ·I looked to some degree because please
 10· ·understand, the mass of these records was that I was
 11· ·not going to sit there and go through page after page
 12· ·for no good reason.· I looked for incidents, and these
 13· ·things happened.· They happened just occasionally.
 14· ·And frankly, I didn't think it was a serious enough
 15· ·violation to determine --- if I determined it was a
 16· ·violation, it was a serious enough violation to charge
 17· ·$15 million.· I thought that was preposterous.
 18· ·Q.I'm sorry.· Go ahead.
 19· ·A.I said I thought that was preposterous.
 20· ·Q.Did you speak with anyone at Intra-National about
 21· ·that?
 22· ·A.No, I didn't speak to Intra-National.· That
 23· ·wasn't going to happen.· There's nothing that Intra-
 24· ·National could do about.· It already happened.
 25· ·Q.Did you speak with Intra-National about whether


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·their pay practices were compliant with the Fair Labor
 ·2· ·Standards Act ---
 ·3· ·A.That's a general ---
 ·4· ·Q.--- at this time?
 ·5· ·A.--- that's a general question.· Did I sit down
 ·6· ·with Intra-National and say your general pay practices
 ·7· ·is wrong?· Of course not, because the Department of
 ·8· ·Labor was going to tell us that the general pay
 ·9· ·practice was wrong and why, which never happened.
 10· ·The only thing I told Intra-National was the
 11· ·investigator pointed out when I said, they're saying
 12· ·you're in violation and they're okay, we'll give the
 13· ·records that are going to summarize what it is.
 14· ·That's what it amounted to.· And you did.· You added
 15· ·something to it.· The Department of Labor added
 16· ·something to it.
 17· ·Q.So did you work with Intra-National to gather
 18· ·table records for Wage and Hour?
 19· ·A.I did not gather anything.· That's a waste of
 20· ·time.· I told Intra-National what we agreed to and
 21· ·they were to carry it out.
 22· ·Q.At any point did you speak with Mr. Heeter about
 23· ·Intra-National computing the overtime back wages that
 24· ·were owed?
 25· ·A.I don't recall discussing that with Mr. Heeter.


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 ·1· ·I assumed they were going to do that because that was
 ·2· ·the idea of presenting the records.· They had said
 ·3· ·there's a violation.· They were going to apply their
 ·4· ·opinion to those records and let us know.· I mean,
 ·5· ·that happens in Wage --- well, it happened when I was
 ·6· ·around.· That happened in Wage Hour cases a lot.· You
 ·7· ·know, you just didn't want to waste time sitting down.
 ·8· ·First, I didn't give the investigator help.· If
 ·9· ·they sat down, went through all those records and did
 10· ·it that way, it was a waste of time.· You're
 11· ·interested in the result.· You're not interested in
 12· ·how you get there.· Just do it most efficiently.
 13· · · · · · · · · · · · · ·---
 14· ·(Whereupon, Linkosky Deposition Exhibit
 15· ·30, E-mail, dated 3/3/20, was marked for
 16· ·identification.)
 17· · · · · · · · · · · · · ·---
 18· ·BY ATTORNEY LUBY:
 19· ·Q.Let me direct your attention to the next exhibit
 20· ·in the binder, Exhibit 30.
 21· ·A.Okay.· All right.
 22· ·Q.On the handwriting, have you seen this document
 23· ·before?
 24· ·A.I don't remember.· I don't remember the specific
 25· ·document, seeing it before.· I obviously wrote it, so


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 ·1· ·I must have seen it at one time.
 ·2· ·Q.Okay.
 ·3· ·And as of March 3rd, 2020, you gave Mr. Heeter an
 ·4· ·update that the records were almost finished.
 ·5· ·Do you see that?
 ·6· ·A.Yeah.
 ·7· ·Q.What do you mean by almost finished?
 ·8· ·A.Whatever we were supposed to do was almost done.
 ·9· ·Q.Do you recall what you were supposed to do?
 10· ·A.No.· You can tell I'm a little bit confused by it
 11· ·because I thought what we were doing, what we were
 12· ·doing, was submitting records to Wage Hour for their
 13· ·calculations.· And this would --- that must be what
 14· ·this refers to.
 15· · · · · · · · · · · · · ·---
 16· ·(Whereupon, Linkosky Deposition Exhibit
 17· ·31, E-mail, dated 5/15/20, was marked
 18· ·for identification.)
 19· · · · · · · · · · · · · ·---
 20· ·BY ATTORNEY LUBY:
 21· ·Q.Okay.
 22· ·Now let's take a look at Exhibit 31.· And for
 23· ·this one, I'm going to start on the last page, but go
 24· ·ahead and sort of page through it before I ask you
 25· ·questions about it.


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 ·1· ·A.Okay.
 ·2· ·Q.This is an email for Brian Heeter.
 ·3· ·Correct?
 ·4· ·A.Yeah, yes.
 ·5· ·Q.Dated May 15th, 2020?
 ·6· ·A.Yes.
 ·7· ·Q.This email is asking for transcriptions, but also
 ·8· ·back wage computations.
 ·9· ·Do you agree with that?
 10· ·A.No.
 11· ·Q.So why don't you agree with that?
 12· ·A.Because it doesn't mention transcriptions or ---
 13· ·it doesn't mention calculations.· Unless you --- the
 14· ·first paragraph from the bottom of 31, top of the
 15· ·second page, I don't see any mention whatsoever.· What
 16· ·that refers to is questioning their right to ask for
 17· ·those records.· There's nothing about calculations.
 18· ·Q.Well, I want to direct your attention to the
 19· ·second sentence of the first paragraph.· The last time
 20· ·we spoke in March, you were going to obtain samples of
 21· ·the work being completed and forward them to me so we
 22· ·could verify that the calculations were being done
 23· ·correctly and that adequate progress was being made.
 24· ·Do you see that?
 25· ·A.No.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·ATTORNEY FOX:
 ·2· ·I'm sorry.· Where are you?
 ·3· ·ATTORNEY LUBY:
 ·4· ·Are we on the wrong page?· I'm on the
 ·5· ·last page of Exhibit 31.
 ·6· ·THE WITNESS:
 ·7· ·The last page.
 ·8· ·ATTORNEY FOX:
 ·9· ·Okay.· Yeah, I think we're on the wrong
 10· ·page.
 11· ·THE WITNESS:
 12· ·We're on the first page.
 13· ·BY ATTORNEY LUBY:
 14· ·Q.Oh, go to the last page of Exhibit 31.
 15· ·ATTORNEY FOX:
 16· ·There's a highlighted version.· I think
 17· ·I'm going to swap that out.· Maybe she didn't want to
 18· ·highlighted this for you.· She highlighted this.                         I
 19· ·didn't.· I'll switch it.
 20· ·I gave him the highlighted version,
 21· ·Andrea.· There was only one of them that had
 22· ·highlights, so I'll just let him have that copy.
 23· ·ATTORNEY LUBY:
 24· ·Thank you.· I'll represent to you that
 25· ·this highlight is mine and it wouldn't have been on


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 ·1· ·the initial email.
 ·2· ·THE WITNESS:
 ·3· ·I see it.
 ·4· ·BY ATTORNEY LUBY:
 ·5· ·Q.And so I want to direct your attention correctly
 ·6· ·this time to the second sentence of the first
 ·7· ·paragraph.
 ·8· ·A.The last time we spoke in March, we're going to
 ·9· ·take samples, samples of work being completed and
 10· ·forwarded to me so we could verify the calculations.
 11· ·Yeah, I see it.
 12· ·Q.So Intra-National was making those calculations?
 13· ·A.That's what it seems like.· But it was --- some
 14· ·of the stuff I saw later, that was done by Wage Hour.
 15· ·I don't think that was done by Intra-National.
 16· ·Q.Okay.· Got it.
 17· ·And Mr. Heeter was --- there's a numbered list
 18· ·here of what he was asking for?· Several examples of
 19· ·the transcriptions and computations for at least ten
 20· ·employees.
 21· ·Do you see that?
 22· ·A.Yeah.· Uh-huh (yes.)
 23· ·Q.And he's asking for a progress report and
 24· ·projected completion date.
 25· ·Do you see that?


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 ·1· ·A.Yes.
 ·2· ·Q.So my question here goes to liability.· At the
 ·3· ·time that Intra-National was doing these computations,
 ·4· ·had you advised them of any defenses they might have
 ·5· ·to liability under the FLSA?
 ·6· ·A.I don't remember that.· I'm certain --- I'm
 ·7· ·certain that in my mind, knowing what the prospect was
 ·8· ·that I was looking for that, but I don't remember
 ·9· ·talking to Intra-National.· That wouldn't have done
 10· ·any good.· ·You know, no sense of scaring the hell out
 11· ·of them.
 12· ·Q.Did you tell them that they were not employers?
 13· ·A.No, no.
 14· ·Q.Did you tell them that the direct care workers
 15· ·were exempt?
 16· ·A.Oh, there is a possibility.· I don't remember
 17· ·telling Intra-National specifically this kind of
 18· ·stuff.· I talked it over with Bruce, things going
 19· ·through my mind because I was looking at the way out.
 20· ·Obviously, that was my job.· We could talk about
 21· ·exempt.· I don't even --- I couldn't even tell you how
 22· ·many exemptions there are in the Fair Labor Standards
 23· ·Act.· You could tell me what you think I was talking
 24· ·about.· I could answer that question.· There were some
 25· ·possibilities.


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      JOHN R. LINKOSKY                                                March 22, 2023
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 ·1· ·Q.So I want to focus on what you told Intra-
 ·2· ·National.· Did you tell them that the live-in
 ·3· ·exemption applied to any of their direct care workers?
 ·4· ·A.I would never have discussed that directly with
 ·5· ·Intra-National.
 ·6· ·Q.Did you tell them that the companionship
 ·7· ·exemption applied to any of their direct care workers?
 ·8· ·A.No, I did not.· I know about considering that.
 ·9· ·You see, the process is to find the way out obviously.
 10· ·Companionship exemption could have applied.· It's 15
 11· ·813.· But I didn't just start holding that stuff out
 12· ·to an employer, you know.· If that doesn't work,
 13· ·you're going to look like you don't know what the heck
 14· ·you're doing.· So you don't raise hopes until you're
 15· ·certain.
 16· ·Q.Did you tell anyone at Intra-National that Intra-
 17· ·National was a payroll company rather than an
 18· ·employer?
 19· ·A.I don't remember telling them that.· I don't
 20· ·remember considering that issue, and I'll explain why.
 21· ·Because when I was with the Wage and Hour Division,
 22· ·Paychecks came on the scene.· Paychecks does payroll.
 23· ·and it was seriously considered within the Wage and
 24· ·Hour Division that they were being --- they were an
 25· ·employer because of that, and it was dismissed.· We


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 ·1· ·did not take action against Paychecks like we're doing
 ·2· ·now.· Interestingly now, we're doing HR, human
 ·3· ·relations, work.
 ·4· ·I'm involved in a case with one of those Paycheck
 ·5· ·people.· Not Paychecks itself, but one of those
 ·6· ·payroll people are now doing extensive human relations
 ·7· ·work, and they're going to be an employer, I would
 ·8· ·think, or possible.
 ·9· ·I never discussed this with Intra-National for
 10· ·the same reasons I just gave.· You can't raise hopes.
 11· ·Q.Did you advise Intra-National that they did owe
 12· ·back wages on those times when they adjusted an hourly
 13· ·rate based on the hours worked in a particular pay
 14· ·period?
 15· ·A.I don't recall telling Intra-National.· But I
 16· ·consulted with a member of your office, Mr. Krier, who
 17· ·agreed with us.· Those were the violation weeks.· We
 18· ·had the opportunity to settle the case on that basis.
 19· ·And --- but you wanted an injunction and a three-year
 20· ·statute of limitations, which was admitting to willful
 21· ·violations of the law.· You could accept.
 22· · · · · · · · · · · · · ·---
 23· ·(Whereupon, Linkosky Deposition Exhibit
 24· ·32, E-mail, dated 6/3/20, was marked for
 25· ·identification.)


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 ·1· · · · · · · · · · · · · ·---
 ·2· ·BY ATTORNEY LUBY:
 ·3· ·Q.I'm going to direct your attention to Exhibit 32.
 ·4· ·Is this something you reviewed during Wage Hour's
 ·5· ·investigation?
 ·6· ·A.I'm sorry?· Can you repeat the question?
 ·7· ·Q.Oh, sure.· Did you review Exhibit 32 during Wage
 ·8· ·and Hour's investigation?
 ·9· ·A.I don't recall.· I don't recall looking at it.
 10· ·I've seen these things before, but I don't --- I don't
 11· ·know whether I saw this or not.
 12· · · · · · · · · · · · · ·---
 13· ·(Whereupon, Linkosky Deposition Exhibit
 14· ·34, E-mail, dated 6/24/20, was marked
 15· ·for identification.)
 16· · · · · · · · · · · · · ·---
 17· ·BY ATTORNEY LUBY:
 18· ·Q.I want to direct your attention to Exhibit 34.
 19· ·And let's start on the last page.
 20· ·A.Okay.· I'm on the last page.
 21· ·Q.Okay.· Great.
 22· ·So looking at the email from you to Mr. Heeter
 23· ·dated June 24th, does this describe the records
 24· ·testing that you did during Wage and Hour's
 25· ·investigation?


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 ·1· ·A.Yeah, this was my opinion about that.
 ·2· ·Q.And so it was your opinion that those three
 ·3· ·employee records didn't show up for basic scheme of
 ·4· ·falsification.
 ·5· ·Is that right?
 ·6· ·A.That's what I said, yeah.
 ·7· ·Q.Did you give any advice to Intra-National about
 ·8· ·whether they engaged in an for basic scheme of
 ·9· ·falsification?
 10· ·A.No.
 11· ·Q.Then let's look at the first page.· It looks like
 12· ·Mr. Heeter responds to your email the same day saying,
 13· ·I think there are enough examples like those in the
 14· ·spreadsheet I sent you today that show the firm
 15· ·changed rates when the hours went up or down.
 16· ·Do you see that?
 17· ·A.No, but I'll find it.
 18· ·Q.Take your time.· It's near the bottom of the
 19· ·page.· The email dated June 24th.
 20· ·A.Okay.
 21· ·I see it.· Uh-huh (yes.)
 22· ·Q.So since Mr. Heeter had sent you a spreadsheet
 23· ·that day, do you remember reviewing the spreadsheet?
 24· ·A.No, I didn't remember.· I do notice here that
 25· ·Brian, Mr. Heeter, had said that a one-time change


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 ·1· ·would not be an issue.· And what I have seen on many,
 ·2· ·many --- well, I shouldn't say many, many, but several
 ·3· ·cases, that there was a one-time change.
 ·4· ·And I think what we're talking about here is the
 ·5· ·determination of those frequency, that those changes
 ·6· ·constituted willfulness.· I think every
 ·7· ·employer/employee stands alone, and that the fact that
 ·8· ·this happened from employee to employee and didn't
 ·9· ·happen to many employees precludes that it is
 10· ·pervasive and indicates a willful violation of the
 11· ·law.
 12· ·Q.Okay.
 13· ·A.So excuse me.· Can I tell you one more thing?
 14· ·Q.Sure.· Go ahead.
 15· ·A.The situation here where there were these fixed
 16· ·hours, and to comply fixed hours, and then you would
 17· ·get from managed care organization that there were
 18· ·more hours, and the rate had been changed to commit
 19· ·compliance.· I can understand that being a mistake
 20· ·rather than a pervasive example of falsification.
 21· ·And the other thing about falsification is it's
 22· ·right on the face of the record, there's no attempted
 23· ·concealment here.· That's falsification.· Concealment
 24· ·is falsification.· There's no falsification.· They did
 25· ·it in the open.· Right?· So I think that goes to not


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 ·1· ·being a pervasive example of willfulness.· If you
 ·2· ·willfully violate the law, my experience is you
 ·3· ·conceal it.· They didn't.· There's no concealment.                          I
 ·4· ·think that's a major factor.
 ·5· ·Q.Did you have any discussions with Intra-National
 ·6· ·about whether their violations were willful?
 ·7· ·A.No, absolutely not.
 ·8· · · · · · · · · · · · · ·---
 ·9· ·(Whereupon, Linkosky Deposition Exhibit
 10· ·36, Rate Change Assignment, was marked
 11· ·for identification.)
 12· · · · · · · · · · · · · ·---
 13· ·BY ATTORNEY LUBY:
 14· ·Q.Let's look at Exhibit 36.
 15· ·A.Okay.
 16· ·Q.It has a heading of Rate Change Assignment.
 17· ·Do you see that?
 18· ·A.Yes.
 19· ·Q.Have you seen this before?
 20· ·A.I haven't seen this one.· I have seen one of
 21· ·these.· I know I have.· I don't know about this one.
 22· ·Q.When did you see one of them?
 23· ·A.Somewhere I've seen another one.· I couldn't
 24· ·remember the names, but I have seen this document.
 25· ·Q.Why did you review it?


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 ·1· ·A.I didn't review it.· I read it.
 ·2· ·Q.Why did you look at it?
 ·3· ·A.To see what the agreement was.· To see what ---
 ·4· ·this apparently is a document that led them into ---
 ·5· ·what I saw on the record of paying --- changing the
 ·6· ·rate, paying time and time and a half.· And I didn't
 ·7· ·see anything on this document that indicated a
 ·8· ·violation of the law.
 ·9· ·Q.And did you advise them to start using this kind
 10· ·of document?
 11· ·A.Absolutely not.· I never saw this document until
 12· ·it came in discovery, to send to you discovery.                       I
 13· ·never had anything to do with it.
 14· ·Q.Okay.· Sorry. I'm going to go backwards in the
 15· ·book.
 16· ·A.I want to point something out about this.
 17· ·Q.Yeah.· Go ahead.
 18· ·A.It goes to the final conclusion by the
 19· ·Department.· This doesn't say one word that I
 20· ·guaranteed a salary, nothing.· The Department of Labor
 21· ·converted this to a salary --- to a salary basis, the
 22· ·equivalent of a salary basis.· There's not a word
 23· ·here.
 24· ·And by the way, there's not a word in the
 25· ·investigation that I was paid a salary or expected


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 ·1· ·salary.· There are five interviews in that case.
 ·2· ·There's no mention from any employee that I expected
 ·3· ·to be paid a salary.· I think that's a significant bit
 ·4· ·of information since it's contrary to the Department's
 ·5· ·determination.
 ·6· ·Q.Did you discuss that with anyone Intra-National?
 ·7· ·A.No, no.
 ·8· · · · · · · · · · · · · ·---
 ·9· ·(Whereupon, Linkosky Deposition Exhibit
 10· ·28, Hours Worked Table, was marked for
 11· ·identification.)
 12· · · · · · · · · · · · · ·---
 13· ·BY ATTORNEY LUBY:
 14· ·Q.Let's look at Exhibit 28.
 15· ·Have you seen this before?
 16· ·A.I don't remember.· I don't remember.
 17· ·Q.When you reviewed the discovery in this case, do
 18· ·you think you saw this document?
 19· ·A.I don't remember seeing it.
 20· ·Q.Okay.
 21· ·And if you look near the bottom of the document,
 22· ·you see sort of a --- almost a table showing the
 23· ·number of hours worked per day and a corresponding
 24· ·hourly rate.
 25· ·Do you see that?


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 ·1· ·A.No.· No.· Bottom of the document?
 ·2· ·ATTORNEY FOX:
 ·3· ·No, I think in the wrong document.
 ·4· ·Exhibit 28.
 ·5· ·BY ATTORNEY LUBY:
 ·6· ·Q.Exhibit 28.
 ·7· ·A.Okay.
 ·8· ·ATTORNEY LUBY:
 ·9· ·Thanks, Bruce.
 10· ·THE WITNESS:
 11· ·I've never seen this before.
 12· ·BY ATTORNEY LUBY:
 13· ·Q.So the bottom of the document, there's sort of a
 14· ·table that correlates number of hours worked per day
 15· ·and hourly rate.
 16· ·Do you see that?
 17· ·A.Yeah.· Yes, I do.
 18· ·Q.Did you have any discussions with Intra-National
 19· ·about this system ---
 20· ·A.No, I did not.
 21· ·Q.--- in 2018?
 22· ·ATTORNEY FOX:
 23· ·Direct discussions?
 24· ·THE WITNESS:
 25· ·I had no discussion with Intra-National


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 ·1· ·about this.· I had no idea about this.· I'll tell you
 ·2· ·unequivocally I had no discussions with Intra-National
 ·3· ·on the development of their plan to pay an hourly rate
 ·4· ·and overtime.· I never discussed that.· I saw it for
 ·5· ·the first time when the Payroll delivered it to the
 ·6· ·investigator.· That's it.
 ·7· · · · · · · · · · · · · ·---
 ·8· ·(Whereupon, Linkosky Deposition Exhibit
 ·9· ·45, E-mail, dated 6/22/20, was marked
 10· ·for identification.)
 11· · · · · · · · · · · · · ·---
 12· ·BY ATTORNEY LUBY:
 13· ·Q.Okay.· Thank you.
 14· ·Sorry about jumping around in this notebook, but
 15· ·let's look at Exhibit 45, right behind tab 45.· So on
 16· ·top of Tab 46.· And it has Mr. McKeegan at the top.
 17· ·Do you see that?
 18· ·ATTORNEY FOX:
 19· ·No, not yet.
 20· ·THE WITNESS:
 21· ·Not yet.
 22· ·ATTORNEY LUBY:
 23· ·Oh, I'm sorry.· I thought you said okay.
 24· ·Take your time.
 25· ·ATTORNEY FOX:


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 ·1· ·45.
 ·2· ·THE WITNESS:
 ·3· ·It's 45?
 ·4· ·ATTORNEY FOX:
 ·5· ·45, yes.
 ·6· ·THE WITNESS:
 ·7· ·Yeah, okay.
 ·8· ·I see it.
 ·9· ·BY ATTORNEY LUBY:
 10· ·Q.And this is an e-mail from you to Mr. Subedi on
 11· ·June 22nd, 2020.
 12· ·Is that right?
 13· ·A.Yeah.· Yes, it is.
 14· ·Q.And this was during Wage and Hour's
 15· ·investigation?
 16· ·A.I guess it was.· I don't know.
 17· ·Q.Sure.
 18· ·The first sentence in this e-mail says, please
 19· ·tell me if I understand correctly what was done in
 20· ·regard to overtime as of the first pay period on
 21· ·August 2018.
 22· ·Do you see that?
 23· ·A.Yeah.· Yes.· I'm sorry.
 24· ·Q.And the last sentence here says, was it the
 25· ·policy to pay the lower rate when there was overtime


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 ·1· ·and the higher rate when there was no overtime?
 ·2· ·Do you see that?
 ·3· ·A.Yes.
 ·4· ·Q.Why did you ask that?
 ·5· ·A.I think it's --- that's described before that.
 ·6· ·We're talking about the fixed number of hours served
 ·7· ·and consumers that were approved.· Regular hours were
 ·8· ·124 each pay period.· He worked 116 hours and was paid
 ·9· ·$10.83 at the time for overtime.· He worked --- at a
 10· ·later pay, he worked 51 hours, and was paid $12.50 an
 11· ·hour.· Right?· Yeah, I see that.
 12· ·What's wrong with that?
 13· ·Q.Well, that's what I want to know.· Why did you
 14· ·ask, based on your view of these records, about the
 15· ·overtime policy?
 16· ·A.Well, because I wanted to know.· They could have
 17· ·paid the minimum wage.· They chose that pay period
 18· ·because that's the enforceable rate in a nine week,
 19· ·ten week.· And we just wanted to know why they paid
 20· ·that rate.· You know, I can see it.· I can't see that
 21· ·that's not a violation of the law.
 22· ·Q.Did you tell anyone in Intra-National that paying
 23· ·Mr. Hussein Seefe and his ??? (1:47:38) this way
 24· ·violated the Fair Labor Standards Act?
 25· ·A.You mean the 51 hours at $12.50?· Is that what


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 ·1· ·you're talking about?
 ·2· ·Q.Well, I only want to review this whole paragraph
 ·3· ·that we've looked at for this employee with these
 ·4· ·various adjustments to his rate.
 ·5· ·A.Well, look, they adjusted.· They paid him ---
 ·6· ·established a new rate, and paid him time and a half
 ·7· ·that rate.· He got to a 51-hour work week, biweekly
 ·8· ·period.· There's no overtime worked.· The employer has
 ·9· ·a perfect right to pay any rate he or she chooses,
 10· ·because the only thing the law can enforce is minimum
 11· ·wage in that week.
 12· ·Q.Well, if they worked 124 hours in a pay period,
 13· ·you split that in half, that's 62 hours a week.· So
 14· ·there's overtime
 15· ·A.It's not 51.· You can't tell from here whether
 16· ·the 51 hours were 25 and 26 or 30 and 21.· There's no
 17· ·overtime in that week.· The way I saw this, there was
 18· ·no overtime in that pay period.· So therefore, the
 19· ·only thing is due is the minimum wage, because the
 20· ·minimum wage where the overtime requirement is to pay
 21· ·time and a half the first week at the rate in the
 22· ·first week of an overtime week.· And there's no
 23· ·overtime at this point.
 24· ·Q.I don't want to argue with you on that, but did
 25· ·you tell anyone at Intra-National that their payment


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 ·1· ·of Mr. Seefe was compliant with the Fair Labor
 ·2· ·Standards Act?
 ·3· ·A.No, not that I can recall.· Not that I can
 ·4· ·recall.
 ·5· · · · · · · · · · · · · ·---
 ·6· ·(Whereupon, Linkosky Deposition Exhibit
 ·7· ·46, E-mail, dated 2/14/23, was marked
 ·8· ·for identification.)
 ·9· · · · · · · · · · · · · ·---
 10· ·BY ATTORNEY LUBY:
 11· ·Q.Let's look at the next exhibit, Exhibit 46.
 12· ·A.Okay.
 13· ·Q.And it looks like this reflects some
 14· ·communication between you and Mr. Subedi about
 15· ·records.
 16· ·Do you agree with that?
 17· ·A.Yeah, apparently.· I think that's right.
 18· ·Q.Sorry.· Go ahead.
 19· ·A.I think that's right because it refers on a
 20· ·record sent at 11:00 a.m. Wednesday, Payroll or
 21· ·calculations I had to do.· I wanted to know that.
 22· ·Q.And you had asked him to send some records in
 23· ·Excel format.· Do you see that?
 24· ·A.Yeah.
 25· ·Q.Did you get them in Excel format?


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 ·1· ·A.I would have no idea. I'm technologically limited
 ·2· ·If I'm using a term like Excel format, somebody else
 ·3· ·gave it to me.· I think that they may have said I've
 ·4· ·sent it in Excel because I don't know what it is.
 ·5· ·THE WITNESS:
 ·6· ·I don't want you to disappear.
 ·7· ·ATTORNEY FOX:
 ·8· ·She's completely disappeared.· Let's
 ·9· ·see.
 10· ·THE WITNESS:
 11· ·I kept you going.
 12· · · · · · · · · · · · · ·---
 13· ·(WHEREUPON, A LUNCHY BREAK WAS TAKEN.)
 14· · · · · · · · · · · · · ·---
 15· ·ATTORNEY LUBY:
 16· ·Back on the record after a lunch break.
 17· · · · · · · · · · · · · ·---
 18· ·(Whereupon, Linkosky Deposition Exhibit
 19· ·42, E-mail, dated 9/23/21, was marked
 20· ·for identification.)
 21· · · · · · · · · · · · · ·---
 22· ·BY ATTORNEY LUBY:
 23· ·Q.And I have some more, a few more, exhibits to go
 24· ·over.· The first one is Exhibit 42.
 25· ·A.Can you hear me?


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 ·1· ·Q.Oh, I can now.
 ·2· ·A.Oh, okay.
 ·3· ·Q.Can you hear me okay?
 ·4· ·A.Yeah, yeah.· It's just you weren't reacting, and
 ·5· ·I'd thought you couldn't hear me.
 ·6· ·Q.Okay.
 ·7· ·Well, I think we've got it worked down now.
 ·8· ·Exhibit 42?
 ·9· ·A.Yeah.
 10· ·Q.Okay.
 11· ·Looking at about the middle of the page, it says
 12· ·from Meg Subedi to you dated September 23rd, 2021.
 13· ·Do you see that?
 14· ·A.Yeah.· Yes.
 15· ·Q.That was about a month before the Department of
 16· ·Labor filed suit.· It looks like you're still trying
 17· ·to look at some records from Scranton.
 18· ·Do you see that?
 19· ·A.Yes.
 20· ·Q.Right below.· Why were you looking at payroll
 21· ·records during that period of time?
 22· ·A.Well, that's been given Wage and Hour law office,
 23· ·and I can't think of their exact name, had initiated
 24· ·an investigation in Scranton.· And I don't know that I
 25· ·was looking at payroll records, but what I did was


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 ·1· ·speak to the Pennsylvania investigator and get that
 ·2· ·ended, because they said there's no such as --- you're
 ·3· ·doing the same thing that the other people are doing.
 ·4· ·Q.Oh, okay.
 ·5· ·So this is the same ---?· I'm sorry.· Go ahead.
 ·6· ·A.I'm sorry.· I had to have some argument to make
 ·7· ·--- to convince that investigator.· Right?· So I did.
 ·8· ·Q.Okay.
 ·9· ·So they agreed to close that?
 10· ·A.They closed that, yeah.
 11· ·Q.Did you ever look at the sample of the records
 12· ·from Scranton?
 13· ·A.No, wasn't necessary.
 14· · · · · · · · · · · · · ·---
 15· ·(Whereupon, Linkosky Deposition
 16· ·Exhibit 41, E-mail, dated 9/30/21, was
 17· ·marked for identification.)
 18· · · · · · · · · · · · · ·---
 19· ·BY ATTORNEY LUBY:
 20· ·Q.Okay.
 21· ·Let's go back to Exhibit 41.· And look at ---
 22· ·well, are you on Exhibit 41?
 23· ·A.Yeah, yeah.
 24· ·Q.It looks like on September 30th of 2021, you're
 25· ·telling Mr. Subedi they're having some trouble opening


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 ·1· ·some records that he sent.
 ·2· ·Do you see that?
 ·3· ·A.Yeah, I see that.
 ·4· ·Q.And it's called an SCR sample.· Is that what it
 ·5· ·says in the subject line of the email?
 ·6· ·A.I don't see an SCR sample, but maybe there's
 ·7· ·another page.
 ·8· ·ATTORNEY FOX:
 ·9· ·On the first page.
 10· ·BY ATTORNEY LUBY:
 11· ·Q.Yeah, the other page doesn't have much except for
 12· ·a couple lines.
 13· ·A.Oh, oh.· I see it.· I see it.· I see what you're
 14· ·talking about.· Yeah.
 15· ·Q.So what's an SCR sample?
 16· ·A.I have no idea.
 17· ·Q.Okay.
 18· ·Do you know what these files were?
 19· ·A.Sorry.
 20· ·Q.Do you know what these files were?· It looks like
 21· ·something TS 2019 and TS 2020 on the second page.
 22· ·A.I don't see any reference to page two.· I don't
 23· ·see any reference to it in that document.
 24· ·Q.Yeah.· So when I look at page two, I don't know
 25· ·if this is the SCR or not.· It looks like it's ???


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 ·1· ·(1:56:39)· One K-A-B-A-R-I ???
 ·2· ·A.Oh.· Well, that's obviously an ??? (1:56:50)
 ·3· ·name, that first name is.· So I wouldn't have any
 ·4· ·idea.
 ·5· ·Q.Okay.· That's fine.
 ·6· ·I want to --- back on page one, direct your
 ·7· ·attention to this email that you sent on October 2nd,
 ·8· ·2021.· It says, has Intra-National stopped reducing
 ·9· ·the regular rate when more than scheduled hours are
 10· ·worked by the DCW at all locations, and if so, when?
 11· ·Do you see that?
 12· ·A.Yeah.
 13· ·Q.Why did you ask that question?
 14· ·A.I don't remember, but it's pretty obvious.· I'd
 15· ·like to see, since I was told by the Department of
 16· ·Labor that was a violation, as to whether they stopped
 17· ·it.
 18· ·Q.Did you, at this point in October of 2021,
 19· ·communicate to anyone at Intra-National that doing
 20· ·that would be a violation?
 21· ·A.I told Dilli the first time they told me.· When I
 22· ·walked out --- when I walked out of a meeting with the
 23· ·investigator, I told him.· I told him.· He was sitting
 24· ·across the room from the door.· And I said to him,
 25· ·they say you're in violation.· And his reply was,


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 ·1· ·well, we got to do something about that.
 ·2· ·Q.You're talking about the first time that the
 ·3· ·investigator came to worksite?
 ·4· ·A.Yes.· In January of 2020.· Yes.
 ·5· ·Q.Are you sure that Dilli was there?
 ·6· ·A.Yes.
 ·7· ·Q.Okay.
 ·8· ·A.I can still picture it.
 ·9· ·Q.Were there any other managers from Intra-National
 10· ·who were part of that discussion?
 11· ·A.I don't know.· I don't remember.
 12· ·Q.Okay.· That's fine.
 13· ·Tell me everything you remember about that
 14· ·conversation.
 15· ·A.That was it.· The conversation was they say
 16· ·you're in violation, and he made some comment to the
 17· ·effective of well, we've got to figure it out or
 18· ·something like that.· That was the end of the
 19· ·conversation.
 20· ·Q.He said he had to what?· I'm sorry.
 21· ·A.I don't remember exactly what he said, but he was
 22· ·obviously angry and made a negative comment about that
 23· ·information.· I think that's the best way to describe
 24· ·it.
 25· ·Q.Was he angry with you?


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 ·1· ·A.Pardon?
 ·2· ·Q.Was he angry with you?
 ·3· ·A.I don't remember that he was.· I don't know.                      I
 ·4· ·probably would not have been very pleased if he was.
 ·5· ·Q.I'm just wondering why you had the impression
 ·6· ·that he was angry?
 ·7· ·A.I'm old enough to recognize when some guy
 ·8· ·responds that he's angry.· I mean, you know.· Why?
 ·9· ·Because it was obvious to me.· That's why.· Holy
 10· ·smoke.
 11· ·Q.That's why you had the discussion with him right
 12· ·after the investigator left?
 13· ·A.Pardon?
 14· ·Q.So you had this discussion right after the
 15· ·investigator left?
 16· ·A.No, the investigator was still in there.· He was
 17· ·still working with directors.
 18· ·Q.Oh, I see.· But it was just you and Mr. Adhikari
 19· ·having this discussion or did you discuss it in front
 20· ·of the investigator?
 21· ·A.It wasn't in front of the investigator.· I closed
 22· ·the door.· He was in there making some transcriptions,
 23· ·and I think we talked about this before.· He made
 24· ·transcriptions of some kind.· Typically, here's what
 25· ·he would do.· In any way to our investigation, he saw


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 ·1· ·something.· He didn't have all the records.· He would
 ·2· ·make some notes, transcriptions to show what he found
 ·3· ·and go from there.· That would be typical.
 ·4· ·And I didn't witness it, but I certainly would
 ·5· ·have expected it above him because it's routine.
 ·6· ·Q.Did you have any discussions with Mr. Adhikari
 ·7· ·about that pay practice after that day?
 ·8· ·A.I don't remember.· I don't remember.
 ·9· ·Q.Do you know if you had any discussions about ---
 10· ·well, let me bring it up.· Going back to Exhibit 41,
 11· ·did Mr. Subedi answer your question?
 12· ·A.What question?
 13· ·Q.Has Intra-National stopped reducing the regular
 14· ·rate when more than the scheduled hours are worked at
 15· ·the DCW at all locations, and if so, when?
 16· ·A.I don't remember.
 17· ·Q.Do you remember, did you find out the answer?
 18· ·Like, were --- by looking at the records, were you
 19· ·able to tell?
 20· ·A.Please understand.· I would ask for things never
 21· ·kept.· That was an ongoing problem.· Some things that
 22· ·I thought I should see, and I would not get them and I
 23· ·--- that I asked for.· And then I'd have to look for
 24· ·another avenue to deal with what I was trying to find
 25· ·out.· But they weren't always responsive to my


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 ·1· ·requests.
 ·2· ·Q.Give me examples of times that they were
 ·3· ·nonresponsive. What did you ask for that you didn't
 ·4· ·get?
 ·5· ·A.Gee.· I can't think of something specific, but
 ·6· ·you could probably see in some of these emails that I
 ·7· ·asked him for information.· And it was routine, almost
 ·8· ·routine that I wouldn't get what I asked for.
 ·9· ·Don't forget, Meg was sick too at this time.
 10· ·Q.You were sick?· They were sick?
 11· ·A.Meg was sick.· Mr. Subedi was sick.· So there
 12· ·were some problems when he would be there and that
 13· ·sort of thing.
 14· ·Q.Okay.· Sure.
 15· ·Well, was the --- did you have problems receiving
 16· ·what you'd ask for at times when Mr. Subedi was
 17· ·healthy?
 18· ·A.I did make determination ---.
 19· ·ATTORNEY FOX:
 20· ·I'm going to object to the form.                 I
 21· ·don't think we have testimony that he was healthy.
 22· ·THE WITNESS:
 23· ·I don't make --- I was going to say I
 24· ·don't make determinations about somebody's health.
 25· ·It's JD, not MD.· Sometimes, because I think I've seen


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 ·1· ·before that you're referring to --- there are some
 ·2· ·references in here, we talked about them, we talked
 ·3· ·about the documents.· They refer to some way he sent
 ·4· ·them, and I didn't think or couldn't get them.
 ·5· ·Couldn't alter them and stuff like that.
 ·6· ·BY ATTORNEY LUBY:
 ·7· ·Q.Okay.
 ·8· ·So Mr. Subedi's health and technological
 ·9· ·difficulties.· Were there any other reasons why you
 10· ·wouldn't get information that you requested?
 11· ·A.I have no idea about --- I can't know about any
 12· ·other reasons why I didn't get what I requested.                          I
 13· ·know that I got some I deal with because I couldn't
 14· ·open them and somebody didn't get.· That's all I can
 15· ·tell you.
 16· · · · · · · · · · · · · ·---
 17· ·(Whereupon, Linkosky Deposition Exhibit
 18· ·40, E-mail, dated 10/13/21, was marked
 19· ·for identification.)
 20· · · · · · · · · · · · · ·---
 21· ·BY ATTORNEY LUBY:
 22· ·Q.Fair enough.
 23· ·Let's see.· Let's look at Exhibit 40.· I'm
 24· ·looking at an email from you to Mr. Subedi about the
 25· ·Scranton investigation, and it's dated October 13th,


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 ·1· ·2021.
 ·2· ·Do you see that?
 ·3· ·A.Yes.
 ·4· ·Q.Great.· Thank you.· So I want to direct your
 ·5· ·attention to the first paragraph.· Sorry, first
 ·6· ·sentence of the second paragraph.· It says, as you
 ·7· ·know, the fact that you're reducing the rate of pay
 ·8· ·when the hours worked exceed the standard hours was a
 ·9· ·practice with almost all the Nepali providers.
 10· ·Do you see that?
 11· ·A.Yes.
 12· ·Q.How did you know that?
 13· ·A.I suppose somebody told me because that refers to
 14· ·all the Nepali providers.· Actually, you should know
 15· ·because the DOL investigated a number of them and
 16· ·found the same practice.
 17· ·Q.Were you a consultant on --- with any of those
 18· ·---?
 19· ·A.No, I'm sorry.· That was information that I got
 20· ·from some way, that they were --- that the Nepali
 21· ·people adopted the same thing, the same process.· And
 22· ·I'm trying to think.· Well, yeah, I saw what other
 23· ·Nepalis did.
 24· ·Q.Okay.
 25· ·A.Actually, I'll explain to you.· That was Everest,


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 ·1· ·and that's the one we agreed with our proposal that
 ·2· ·that was the only violation that we could have settled
 ·3· ·on that basis.
 ·4· ·Q.So I'm looking at the last couple sentences here.
 ·5· ·It says I must have a complete understanding of what
 ·6· ·went on in Scranton for the last two years.
 ·7· ·Do you see that?
 ·8· ·A.Yeah.· Uh-huh (yes.)
 ·9· ·Q.So until this state investigation started, had
 10· ·you been providing any kind of ongoing advice or
 11· ·information to Intra-National?
 12· ·A.First of all, that's a very broad, general
 13· ·question.· I generally was not providing information
 14· ·directly to Intra-National because --- I have reasons
 15· ·for that.· When you have a theory that you're trying
 16· ·to develop and you talk about that theory and it
 17· ·doesn't work out, you have very disappointed people.
 18· ·So I just didn't run with every thought I had to
 19· ·Intra-National.
 20· ·And this references I was trying to convince the
 21· ·State of Pennsylvania, who are no less dogged than the
 22· ·US Department of Labor, that they should drop that
 23· ·case.· And that's what I was trying to do.
 24· ·Q.What I'm trying to figure out really is the
 25· ·nature of your business relationship, I guess, with or


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 ·1· ·the nature of your consulting relationship with Intra-
 ·2· ·National because I've got testimony in the record that
 ·3· ·you're reviewing every table before it goes out.· They
 ·4· ·call you anytime they have a question about payroll.
 ·5· ·They get ongoing legal advice from you, that you
 ·6· ·approve of their pay practice, all kinds of things
 ·7· ·like that.· I'm trying to figure out --- you know, I
 ·8· ·want to know from you, I guess, how often and, you
 ·9· ·know, for what purposes you interacted with Intra-
 10· ·National?
 11· ·ATTORNEY FOX:
 12· ·I'm going to object to the form.· It's
 13· ·vague and ambiguous and multipart question.
 14· ·BY ATTORNEY LUBY:
 15· ·Q.Yeah, that's not really my question.· I'm just
 16· ·trying to set a frame for what I'm trying to find out
 17· ·here.· So just directing your attention back to this
 18· ·October 13th, 2021 email, it seems to me that it had
 19· ·been a while since you looked at Intra-National's
 20· ·payroll practices.
 21· · ·Is that true?
 22· ·A.Well, that's a --- that's a general question.
 23· ·Yeah, it's true.· This has to be narrowed down to what
 24· ·I'm trying to do here.· I did not even know at one
 25· ·point that they had a state Scranton operation.


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 ·1· ·There's a contact from the State of Pennsylvania.
 ·2· ·They want to look at Intra-National.· My job was to
 ·3· ·keep them from looking at Intra-National because here
 ·4· ·you have another agency.· They're not quite as --- now
 ·5· ·this is only my opinion.· They're not quite as adept
 ·6· ·at what they do as the US Department of Labor.· And it
 ·7· ·could turn into an unbelievable mess because they
 ·8· ·don't function the way I think they should and I'm
 ·9· ·used to.· So the idea was to drop it, to get them to
 10· ·drop it.· And I did.· That's what was going on.
 11· ·Q.So what I've heard so far today is that you
 12· ·worked with Intra-National during the first state
 13· ·investigation, then during the Wage and Hour federal
 14· ·investigation, and then also during this 2021 state
 15· ·investigation.· Do you do anything else besides
 16· ·providing advise to violate companies under
 17· ·investigation?
 18· ·A.Well, there's a couple of things.· I don't
 19· ·remember another state investigation.· I don't recall
 20· ·that.· My recollection is there was one proposed state
 21· ·investigation.· And when I talked to the investigator,
 22· ·that investigation was stopped because they were
 23· ·already investigated or by the state, they may have
 24· ·been sued by that time.· That's what I'm talking
 25· ·about.· I don't remember another state investigation.


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 ·1· ·Actually, I never looked at any locations.· One in
 ·2· ·Michigan, for example.· It existed.· I found out that
 ·3· ·it existed.· I didn't have anything to do with it.
 ·4· ·There were others.· I just didn't pay attention.
 ·5· ·Didn't have to.
 ·6· ·Q.What about the private lawsuits?· Did you have
 ·7· ·any involvement with those?
 ·8· ·A.No.· All I know is the private lawsuits started,
 ·9· ·and I think --- and I shouldn't say I know.· I think
 10· ·that it started but I'm not certain.
 11· ·Q.So you provided consulting services during the
 12· ·Wage and Hour investigation and during the state
 13· ·investigation.· Did you provide consulting services to
 14· ·Intra-National at any other time?
 15· ·A.Well, you keep saying did I provide consulting
 16· ·services.· What do you mean by that?
 17· ·Q.Well, whatever it is that you do when you
 18· ·interact with Intra-National.· I don't want to get a
 19· ·fight with you over terminology.· There's talking,
 20· ·there's calling on the phone, there's having meetings,
 21· ·there's looking at records.· I don't know what you
 22· ·want to call that.
 23· ·A.There's a heck of a difference between some of
 24· ·those things and providing counseling.· I mean, I just
 25· ·don't quite understand when you ask questions like


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 ·1· ·that, because I wasn't --- I wasn't counseling
 ·2· ·anybody, you know.· You make a statement to them and
 ·3· ·whether they follow it or not, that's their business.
 ·4· ·You can't stop them.· I had no power to make them do
 ·5· ·anything that I would have thought they should have
 ·6· ·done.· It's a matter of pointing it out.· If you do
 ·7· ·that, then it's persuasion, you know.· I didn't have
 ·8· ·the power to say you better do this.· I can't.
 ·9· ·Q.Okay.· Thank you.
 10· ·Did you have any interactions with Intra-National
 11· ·that didn't involve a government investigation?
 12· ·A.Absolutely not.· I don't know what you mean by
 13· ·other kinds of --- I mean, I socialized.· That's for
 14· ·sure.
 15· ·Q.Great, because, now Mr. Adhikari made it seem
 16· ·that they have an ongoing relationship with you, that
 17· ·you give them ongoing legal advice about their paying
 18· ·practices.· It sounds like you're telling me that's
 19· ·not true?
 20· ·A.I'm saying Mr. Adhikari is exaggerating to a
 21· ·degree, and he wasn't getting the information directly
 22· ·from me, you know.· I mean, he character --- if he's
 23· ·characterizing it that way, that's simply inaccurate,
 24· ·although I would say that Mr. Adhikari's relying ---
 25· ·it's his perception of that, I would say.


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 ·1· · · · · · · · · · · · · ·---
 ·2· ·(Whereupon, Linkosky Deposition Exhibit
 ·3· ·39, E-mail, dated 2/14/23, was marked
 ·4· ·for identification.)
 ·5· · · · · · · · · · · · · ·---
 ·6· ·BY ATTORNEY LUBY:
 ·7· ·Q.Okay.
 ·8· ·So let's look at a couple more e-mails.· Let's
 ·9· ·look at Exhibit 39.· And you see an email there?· It's
 10· ·directed to Inspector --- I'm going to say Piccillo,
 11· ·P-I-C-C-I-L-L-O.
 12· ·A.What's the date of it?· Oh, I see it.· That's
 13· ·Salvatore Piccillo.· It's Piccillo, like the ---.
 14· ·Q.Piccillo, oh.· Of course it is.· Was he the
 15· ·investigator from the state investigation that you're
 16· ·just talking about?
 17· ·A.Yeah, he was the investigator.· They don't call
 18· ·them investigators.· They call something else.
 19· ·Q.Oh, thank you.· And this is the email that you
 20· ·sent to him about the investigation?
 21· ·A.No, it's from me obviously.· That's true.
 22· ·Q.Okay.
 23· ·How did you learn that there was a state agency
 24· ·investigation of Intra-National?
 25· ·A.I don't remember.· I don't remember.


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 ·1· ·Q.Okay.
 ·2· ·So earlier you were saying that you weren't
 ·3· ·providing consulting services.· But when you were
 ·4· ·pointing things out, you said, what kind of things
 ·5· ·about Intra-National --- other than this one
 ·6· ·discussion that you had with Mr. Adhikari when Wage
 ·7· ·and Hour came to the worksite, did you point any other
 ·8· ·things out to the management and Intra-National about
 ·9· ·their FLSA compliance?
 10· ·A.They are --- pointing things out.· I don't know
 11· ·what you mean by pointing things out.· You have to ---
 12· ·please understand that these things are going on.· The
 13· ·approach that Subedi would take way back is looking at
 14· ·things and seeing potential problems, whether they
 15· ·--- , the extend of those problems, and how there are
 16· ·---could they be solved?· If they're not, what's the
 17· ·consequence?· That's the process.
 18· ·So it's an ongoing process when you're involved
 19· ·in something like this.· So the specifics of it are
 20· ·very difficult to deal with, to describe, or to
 21· ·remember.· You know, it's constantly --- well, I
 22· ·shouldn't say constantly.· Pretty regularly, trying to
 23· ·find out how this can resolve, if it can be.· And you
 24· ·look at what a whole bunch of people are doing.                       I
 25· ·look at what the Department of Labor was doing.· And


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 ·1· ·it was very, very different or very, very attitudes
 ·2· ·toward or beliefs as women's ??? (2:19:18) or should
 ·3· ·be.
 ·4· ·Don't forget, I was with the Department of Labor.
 ·5· ·I was responsible for this kind of stuff.· And I look
 ·6· ·out from that standpoint.
 ·7· ·Q.No, understood.· So when you did identify an
 ·8· ·issue and pointed it out to Intra-National, did they
 ·9· ·always correct it?
 10· ·A.Well, you can see by some of these things that
 11· ·I'm asking, I first saw the issue of the deduction or
 12· ·reduction of the regular rate in January of 2020, and
 13· ·I'm asking the question of Meg Subedi in 2021, did
 14· ·they start or still doing it?· Where?· You can see
 15· ·that in the meantime, I had no means to know.
 16· ·Q.Okay.
 17· ·I want to take you back to Exhibit 28.
 18· ·A.Okay.
 19· ·Q.Now, Mr. Adhikari testified that he created this
 20· ·system based on your advice.
 21· ·Does that --- do you know anything about that?
 22· ·A.Absolutely not.
 23· ·ATTORNEY FOX:
 24· ·Objection to form.
 25· ·What system?


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 ·1· ·THE WITNESS:
 ·2· ·If you're talking about ---?
 ·3· ·ATTORNEY LUBY:
 ·4· ·Exhibit 28.
 ·5· ·THE WITNESS:
 ·6· ·I don't know anything about this.· I did
 ·7· ·not develop the denti system.· They did whatever.
 ·8· ·There's no way I could.· I didn't know anything about
 ·9· ·their finances.· I didn't know what they --- what
 10· ·their expenses were.· There's no way I could do
 11· ·anything like that.· Nor am I qualified to do anything
 12· ·like that.
 13· ·BY ATTORNEY LUBY:
 14· ·Q.Have you given them any explanation of FLSA
 15· ·requirements in general before July 2018?
 16· ·A.No, I wouldn't do that.
 17· ·Q.Okay.
 18· ·Did you provide any training to Mr. Subedi about
 19· ·how to follow policies set forth in Exhibit 28?
 20· ·A.Absolutely not.
 21· ·Q.Okay.· Sorry for the delay.· I was skipping ahead
 22· ·a little bit, so that'll safe some time at the end.
 23· ·Since 2018, have you reviewed Intra-National's
 24· ·payroll records on a monthly basis?
 25· ·A.I'm sorry.· Was that the question?


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 ·1· ·Q.Yes.· I'm sorry.· Since 2018, have you reviewed
 ·2· ·Intra-National's payroll records on a monthly basis?
 ·3· ·A.No, I did not.
 ·4· ·Q.Does Mr. Subedi call you when he has questions
 ·5· ·about FLSA compliance?
 ·6· ·A.No.· I shouldn't say no.· He would not typically
 ·7· ·do that.· I don't recall him calling me and asking me
 ·8· ·an FLSA question.· I don't recall.
 ·9· ·Q.Would he --- was he in the practice of emailing
 10· ·you if he had questions about the FLSA?
 11· ·A.Not that I recall.
 12· · · · · · · · · · · · · ·---
 13· ·(Whereupon, Linkosky Deposition Exhibit
 14· ·22, ADP Records, was marked for
 15· ·identification.)
 16· · · · · · · · · · · · · ·---
 17· ·BY ATTORNEY LUBY:
 18· ·Q.Okay.
 19· ·I want to take a look at Exhibit 22, which is the
 20· ·first exhibit in the binder.
 21· ·A.Okay.· Find 22.
 22· ·Q.Great.· And you see it says ADP, employee's
 23· ·record in the lower left-hand corner?
 24· ·A.Yeah, I see that.
 25· ·Q.Okay.


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 ·1· ·Did you review these records during Wage and
 ·2· ·Hours' investigation?· Did you see these records or
 ·3· ·any of them during Wage and Hours' investigation?
 ·4· ·A.I don't recall.· It wasn't typical.· Wage and
 ·5· ·Hour was doing the investigation.· I wasn't doing the
 ·6· ·investigation.· I wish I was doing it.· We gave them
 ·7· ·the records.· That's it.
 ·8· ·Q.Okay.
 ·9· ·So your involvement during that investigation was
 10· ·to make sure that the payroll records were received by
 11· ·Wage and Hour, and that was it?
 12· ·A.Yeah.· Principally, that was it because that was
 13· ·the commitment that was made.· That's what I
 14· ·understood we were doing.· Of course, you have an
 15· ·obligation to provide Wage and Hour with the records.
 16· ·There's no question.· You would have to --- you'd have
 17· ·to because next thing you know you'd have enemies in
 18· ·Wage Hour not get what they wanted.· You know, don't
 19· ·forget, I understand their point of view.· I lived it
 20· ·for 30 years.
 21· · · · · · · · · · · · · ·---
 22· ·(Whereupon, Linkosky Deposition Exhibit
 23· ·23, Intra-National Records, was marked
 24· ·for identification.)
 25· · · · · · · · · · · · · ·---


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 ·1· ·BY ATTORNEY LUBY:
 ·2· ·Q.Yeah, I think we're on the same page here.
 ·3· ·Absolutely.· Let's see.· Let's look at Exhibit 23, the
 ·4· ·next one in the binder.
 ·5· ·A.Okay.
 ·6· ·I have it.
 ·7· ·Q.Do you recognize this document?
 ·8· ·A.No, I don't recognize it.
 ·9· ·Q.Okay.
 10· ·Has Intra-National ever sent you documents in
 11· ·this format to look at?
 12· ·A.I don't recall getting the format.
 13· · · · · · · · · · · · · ·---
 14· ·(Whereupon, Linkosky Deposition Exhibit
 15· ·24, Earning Statement, was marked for
 16· ·identification.)
 17· · · · · · · · · · · · · ·---
 18· ·BY ATTORNEY LUBY:
 19· ·Q.Okay.
 20· ·Let's look at Exhibit 24.
 21· ·A.Okay.
 22· ·Q.And do you see the record that says earnings
 23· ·statement, ADB in the upper right?
 24· ·A.Okay.
 25· ·I see that.· Yeah.


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 ·1· ·Q.We talked a little bit about during Wage and
 ·2· ·Hours' investigation, you looked at some sample
 ·3· ·employees and how they were paid.· When you did that,
 ·4· ·was that based on records like Exhibit 25 or Exhibit
 ·5· ·23 or something else?
 ·6· · · · · · · · · · · · · ·---
 ·7· ·(Whereupon, Linkosky Deposition Exhibit
 ·8· ·25, Earning Record, was marked for
 ·9· ·identification.)
 10· · · · · · · · · · · · · ·---
 11· ·THE WITNESS:
 12· ·Well, this is 23, because I just told
 13· ·you I hadn't seen those records.· I really did not get
 14· ·into the records at all.· I didn't get into a lot of
 15· ·records.· I don't recall looking at these pay stubs
 16· ·because --- am I supposed to be in 25 or 24?
 17· ·BY ATTORNEY LUBY:
 18· ·Q.No, 24.
 19· ·A.24.· Okay.
 20· ·Q.22 and 24.
 21· ·A.Well, 24 doesn't tell you anything.· If you look
 22· ·at 24, that's group ??? (2:29:22).
 23· ·Q.So when you look at something more like 25, do
 24· ·you recognize it?· It says ADP including earnings
 25· ·record in the lower left.


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 ·1· ·A.Yeah, this kind of record just wasn't really this
 ·2· ·way.· Left to right and right to left.· I don't --- I
 ·3· ·don't recall looking at it.
 ·4· ·Q.Oh, yeah.· That's true.· You kind of have to
 ·5· ·rotate the exhibit.· But are earnings, employee
 ·6· ·earnings records like this, the kind of document that
 ·7· ·you looked at during Wage and Hours' investigation?
 ·8· ·A.I'd like to show you this --- you turn it this
 ·9· ·way, across the page top to bottom.· Really?· I don't
 10· ·recall looking at those at all.
 11· ·Q.Okay.
 12· ·After the investigation that focused on Scranton,
 13· ·did you review any payroll records from Intra-
 14· ·National?
 15· ·A.I don't recall.
 16· ·Q.Did you provide any advice to Intra-National?
 17· ·A.No.· About what?· Advice about what?
 18· ·Q.Well, let's start broad and say any advice about
 19· ·meeting FLSA.
 20· ·ATTORNEY FOX:
 21· ·I'm sorry.· Can I have the question
 22· ·back?
 23· ·ATTORNEY LUBY:
 24· ·Are you asking the court reporter or are
 25· ·you asking me?


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 ·1· ·ATTORNEY FOX:
 ·2· ·Either one.
 ·3· ·BY ATTORNEY LUBY:
 ·4· ·Q.I asked if he had given any advice about the
 ·5· ·FLSA?
 ·6· ·ATTORNEY FOX:
 ·7· ·Objection to form.· It's overly broad.
 ·8· ·THE WITNESS:
 ·9· ·I can't --- I can't recall.· This whole
 10· ·idea that I was regularly, if that's the idea,
 11· ·regularly giving advice to Intra-National or anybody
 12· ·else, well, I shouldn't say it that way.· To Intra-
 13· ·National about the advice is just not probable in the
 14· ·way you deal with these things.· You're not going to
 15· ·the employer all the time saying oh yeah, you
 16· ·shouldn't be doing this and this is what it is and you
 17· ·should be doing this.
 18· ·We made arrangements.· Wage and Hour was
 19· ·getting directors.· Actually, until we got back from
 20· ·Wage and Hour what their conclusions were, because we
 21· ·were getting some variety of conclusions if you
 22· ·remember, we read one of these emails where it said,
 23· ·well, just one reduction of the rate when there were
 24· ·more than fix hours is not necessarily --- not enough.
 25· ·I also had feedback from Wage Hour that that was the


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      JOHN R. LINKOSKY                                                 March 22, 2023
      WALSH V. INTRA NATIONAL HOME CARE                                           103

 ·1· ·only violation, you know.
 ·2· ·BY ATTORNEY LUBY:
 ·3· ·Q.Did you help the parties work that out?
 ·4· ·A.Pardon?
 ·5· ·Q.So you provided --- let me withdraw that.
 ·6· ·It sounds like your role was primarily limited to
 ·7· ·assisting Intra-National during government
 ·8· ·investigations?
 ·9· ·ATTORNEY FOX:
 10· ·Object to the form.
 11· ·THE WITNESS:
 12· ·Your question was interrupted by
 13· ·something.· Can you repeat it please?
 14· ·BY ATTORNEY LUBY:
 15· ·Q.Oh, sure.· The services you provided to Intra-
 16· ·National, were they focused exclusively on government
 17· ·investigations?
 18· ·A.Well, first of all, I was providing the
 19· ·information to Obermayer.· And what kind of government
 20· ·investigation do you remember of an FLSA specialist?
 21· ·Q.Right.
 22· ·So government investigations, I guess, we've
 23· ·identified two so far, the Scranton investigation by
 24· ·the state and the Wage and Hour investigation.· You
 25· ·assisted with both those.


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      JOHN R. LINKOSKY                                                 March 22, 2023
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 ·1· ·Did you assist with anything else?
 ·2· ·A.Anything else?· That's too broad a question.                       I
 ·3· ·can't answer, you know, give you a short answer to
 ·4· ·that.· I was doing all kinds of --- well, I shouldn't
 ·5· ·say all kinds, but I was also doing work on non-
 ·6· ·related cases for Obermayer.· FLSA issues, you know,
 ·7· ·but not necessarily for ---.
 ·8· ·Q.I just meant for Intra-National.· So you advised
 ·9· ·Intra-National about the FLSA through the Wage and
 10· ·Hour investigation, the state investigation.· Did you
 11· ·advise them during any other --- well, let's start
 12· ·with government investigations?
 13· ·A.Reacting to the investigations, not necessarily
 14· ·given advice.· I was reacting.· That state
 15· ·investigation, I was reacting to what they wanted and
 16· ·what they were going to do and what they were trying
 17· ·to do and why they should have any reason to do it.
 18· ·You know, I think with them, I just thought that
 19· ·the best thing for anybody was to get them off the
 20· ·case because there's no sense duplicating.· You're
 21· ·going to have --- you're going to have competing
 22· ·arguments.· And frankly, the state is not very good at
 23· ·this.
 24· ·My humble opinion, you know, if I had a choice
 25· ·having a single entity subject to both, I'd rather


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 ·1· ·have my job, which I understand more, of course.
 ·2· ·Q.And so let me write it this way.· When is the
 ·3· ·last time that you billed Obermayer for working with
 ·4· ·Intra-National?
 ·5· ·A.I don't remember.
 ·6· ·Q.I'm sorry.· You broke up for a minute there.
 ·7· ·A.I don't remember.
 ·8· ·Q.Okay.
 ·9· ·Do you know if you billed them this year?
 10· ·A.I'm sorry.
 11· ·Q.Do you know if you billed them in 2023?
 12· ·ATTORNEY FOX:
 13· ·For Obermayer or anybody else?
 14· ·BY ATTORNEY LUBY:
 15· ·Q.Well, I asked if he billed Obermayer since 2023.
 16· ·A.I probably have, yes.
 17· ·Q.For services for Intra-National?
 18· ·A.I billed Obermayer for services to Obermayer
 19· ·definitely.
 20· ·Q.Okay.
 21· ·Did you bill Obermayer --- what did you say?· I'm
 22· ·sorry.· Can you repeat that?
 23· ·A.I billed Obermayer definitely.· I didn't bill
 24· ·Intra-National.· You know I was here for depositions
 25· ·in '23.


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      JOHN R. LINKOSKY                                                 March 22, 2023
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 ·1· ·Right?· I was here for Mr. Adhikari's deposition.
 ·2· ·So, I mean, I would have billed that.· But I can't
 ·3· ·---.
 ·4· ·Q.How about for services you provided to Obermayer?
 ·5· ·A.Sure.· I was here to see what he was saying for
 ·6· ·Obermayer.
 ·7· ·Q.Has it ever come to your attention that Intra-
 ·8· ·National has a practice of making miscellaneous
 ·9· ·deductions from an employee's pay?
 10· ·A.Can you repeat that please, ma'am?· Can you
 11· ·repeat it please?
 12· ·Q.Yeah.· Has it ever come to your attention that
 13· ·Wage and Hour --- sorry.· Has it ever come to your
 14· ·attention that Intra-National subtracts miscellaneous
 15· ·deductions from employees' pay?
 16· ·A.Yes, Mr. Heeter told me that.
 17· ·Q.Did you discuss that with Intra-National?
 18· ·A.I asked why, Yes.· I didn't discuss it.· I asked
 19· ·why you're doing it.· Oh, no.· I asked why you're
 20· ·doing it.· I believe Mr. Heeter.· I mean, you know, if
 21· ·he said they're doing it, they're doing it.· I said,
 22· ·okay, why are you doing it?· That's all.
 23· ·Q.Who do you ask?
 24· ·A.Meg Subedi.
 25· ·Q.And what did he say?


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      JOHN R. LINKOSKY                                                 March 22, 2023
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 ·1· ·A.They prepared their payrolls, it seems, like in
 ·2· ·advance, because they had --- and I'm not sure of that
 ·3· ·but it seems possible, at least because they work with
 ·4· ·fixed hours.· The hours don't change except
 ·5· ·intermittently so it would be possible to have the
 ·6· ·payroll done beforehand until you got the records.
 ·7· ·I wouldn't do it, but it could be.· And then they
 ·8· ·would receive notice from the MCO that, for example,
 ·9· ·the recipient of services was two days in the
 10· ·hospital.· Couldn't count the services, so they're not
 11· ·going to pay for it.
 12· ·So Intra-National had already paid for hours that
 13· ·they're recovering.· That was --- they're recovering
 14· ·hours that were paid that should not have been paid
 15· ·because they didn't know the guy didn't provide the
 16· ·services.· The MTC didn't provide the services because
 17· ·they should be more prepared.
 18· ·What that raised in my mind was if this happened,
 19· ·reporting regularly that all the services on the ISP
 20· ·have been performed, verified by the recipient,
 21· ·alleged recipient of services, I'll use that in this
 22· ·context, alleged, and the DCW possibly could not have
 23· ·been performed, and Intra-National was being billed
 24· ·for it and required to pay overtime when those
 25· ·services were not performed.


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 ·1· ·Look, if the ISP said you got an hour and a half
 ·2· ·for breakfast and the recipient said I don't feel
 ·3· ·well, I don't want breakfast, that should not have
 ·4· ·been charged.· But it was, at least, because it was so
 ·5· ·standardized, they took the ISP hours as charged as
 ·6· ·done.
 ·7· ·That's why I think Wage Hour, if they understood
 ·8· ·this program, would have looked into the accuracy of
 ·9· ·the records.· The law says the employer must keep an
 10· ·accurate record of the daily and weekly hours work.
 11· ·These people could have very well been instructed.
 12· ·When you start to make breakfast, put down 7:00 when
 13· ·you start.· Put down 10:30 when you finish.· And those
 14· ·hours are the actual hours worked.
 15· ·That was never done in this case.· Everybody
 16· ·reported what the ISP said the third party had
 17· ·established.· Those records were established by the
 18· ·service coordinator.· Those hours and those duties
 19· ·were established by the service coordinator, and there
 20· ·was an assumption that they were always done.
 21· ·And when would the Service Coordinator show up?
 22· ·Every three months.· That's what I heard.· So nobody
 23· ·was supervising any of this stuff.
 24· ·And I really --- it's my opinion that the DOL
 25· ·should have looked into that.· Look, I have never seen


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 ·1· ·a Wage Hour investigation under these circumstances
 ·2· ·when you have all these parties involved making vital
 ·3· ·decisions and then it's up to Wage Hour to sort them
 ·4· ·out.· And I think they should have.
 ·5· ·Q.So when you learned about this miscellaneous pay,
 ·6· ·did you look at any payroll records to confirm what
 ·7· ·??? (2:43:11) was telling you?
 ·8· ·A.No.· I trust Brad Heeter.· He will tell me --- he
 ·9· ·will not tell me something which wasn't happening.
 10· ·Q.But did you look at any records to verify whether
 11· ·those deductions correlated with the kind of sounding
 12· ·billing fraud that you're talking about?
 13· ·ATTORNEY FOX:
 14· ·Objection to form.· There's been no
 15· ·discussion of billing fraud.
 16· ·THE WITNESS:
 17· ·I didn't say it was billing fraud.                  I
 18· ·said it was a mistake, that they paid wages that they
 19· ·were later told by the DC or by the organization that
 20· ·they should not have paid and they would not be paid
 21· ·for them.· That's the problem.· There's no fraud
 22· ·involved in that thing.· That's simply --- what it is,
 23· ·is a demonstration of the lack of control that Intra-
 24· ·National had.· This is another way I looked at it.· It
 25· ·was a lack of control that Intra-National had, which


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 ·1· ·would be an essential part of being an employer.
 ·2· ·If you can't decide what --- if you
 ·3· ·don't know or can't decide what's to be paid, you
 ·4· ·know.· I understand the FLSA definition of employer is
 ·5· ·extremely broad.· But other people have more duties as
 ·6· ·employers than Intra-National.· And, you know, it's my
 ·7· ·thrust in looking at this is try to establish that
 ·8· ·this was not true.· You know, that they should not
 ·9· ·have been summarily determined to be an employer
 10· ·without some analysis of what went on here.
 11· ·The MCO had all the power.· The state
 12· ·transferred the power to the MCO.· They couldn't pick
 13· ·employees.· The recipient picked who --- they couldn't
 14· ·decide not to hire one because the standards of the
 15· ·federal government told who could be hired.
 16· ·BY ATTORNEY LUBY:
 17· ·Q.So did Mr. Heeter show you that the miscellaneous
 18· ·deductions on the payroll records correlated exactly
 19· ·with the overtime premium pay for the direct care
 20· ·workers?
 21· ·A.No, I don't believe Mr. Heeter would have told me
 22· ·something which wasn't true.
 23· ·Q.Did you look at the payroll records?
 24· ·Is that true?
 25· ·A.No, I just told you.· I had Brian Heeter tell me


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 ·1· ·that he looked at records or something about the
 ·2· ·records and saw that, and I accept it as fact.
 ·3· ·ATTORNEY LUBY:
 ·4· ·How about we take a five-minute break?
 ·5· ·I think we're about done here, but I just want to look
 ·6· ·over my notes.· I'll leave the chat if you want.
 ·7· ·ATTORNEY FOX:
 ·8· ·Yeah, sure.
 ·9· · · · · · · · · · · · · ·---
 10· ·(WHEREUPON, A SHORT BREAK WAS TAKEN.)
 11· · · · · · · · · · · · · ·---
 12· ·ATTORNEY LUBY:
 13· ·Back on the record.· I don't have any
 14· ·more questions for you today.· I wanted to thank you
 15· ·for your time and your attention during the
 16· ·deposition.· And your Counsel may want to talk to you
 17· ·about read and signing, but that's it for me.
 18· ·ATTORNEY FOX:
 19· ·I just have one question, one follow-up
 20· ·question, Mr. Linkosky.
 21· · · · · · · · · · · · · ·---
 22· · · · · · · · · · · ·EXAMINATION
 23· · · · · · · · · · · · · ·---
 24· ·BY ATTORNEY FOX:
 25· ·Q.During the course of your 30-year career with the


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 ·1· ·DOL and your subsequent career as a specialist in FLSA
 ·2· ·matters, have you ever seen an investigation that was
 ·3· ·conducted as poorly as this one?
 ·4· ·ATTORNEY LUBY:
 ·5· ·Objection to form.
 ·6· ·Go ahead.
 ·7· ·THE WITNESS:
 ·8· ·I have never seen an investigation of
 ·9· ·any entity or any --- I'm using a lot of words.· Any
 10· ·system like this.· This is unique in so many different
 11· ·ways.· I think that --- I think that there are
 12· ·shortcomings in the investigation process but I don't
 13· ·believe anybody --- at least I never saw anything
 14· ·quite like this where you have all these parties
 15· ·making decisions and you can't do anything about it.
 16· ·And I don't know if the DOL could
 17· ·have gone in and questioned this stuff.· I know that
 18· ·people in Dilli's position couldn't go in there and
 19· ·question the hours.· I think the DOL could probably
 20· ·have done it if they would have done it.· But they had
 21· ·the restriction of the virus, which is another
 22· ·problem.· I don't think the investigation was very
 23· ·good on the investigators' level, period. Thank you.
 24· ·ATTORNEY FOX:
 25· ·Okay.· Thank you.


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 ·1· ·I have no further questions.
 ·2· ·ATTORNEY RUPRECHT:
 ·3· ·John, one thing.· Not my house.· What
 ·4· ·she's saying is, you have a right to request this
 ·5· ·transcript.· And when we get it, you've got 30 days to
 ·6· ·see if you want to make corrections, additions or
 ·7· ·that, or you can waive it.
 ·8· ·What do you want to do?
 ·9· ·THE WITNESS:
 10· ·I want the transcript.
 11· ·ATTORNEY RUPRECHT:
 12· ·You want to read?
 13· ·THE WITNESS:
 14· ·Yes.
 15· ·ATTORNEY RUPRECHT:
 16· ·Okay.
 17· ·ATTORNEY FOX:
 18· ·Okay.
 19· ·I think we're done then.
 20· ·ATTORNEY LUBY:
 21· ·Let's go off the record.
 22· · · · · · · · · · ·* * * * * * * *
 23· · · · · · DEPOSITION CONCLUDED AT 2:34 P.M.
 24· · · · · · · · · · ·* * * * * * * *
 25· ·COURT REPORTER:


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 ·1· ·Mr. Fox, I just need to know if she'd
 ·2· ·like a copy.
 ·3· ·ATTORNEY FOX:
 ·4· ·Oh, the court reporter has a question.
 ·5· ·I'm sure she's gone, but I'm sure she'll want a copy.
 ·6· ·COURT REPORTER:
 ·7· ·And would you like an email copy or hard
 ·8· ·copy?
 ·9· ·ATTORNEY FOX:
 10· ·Whatever.· You know, we'll want an email
 11· ·copy, a hard copy and the mini script. I guess we
 12· ·won't need the exhibits attached since we have this
 13· ·binder.
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 ·1· ·COMMONWEALTH OF PENNSYLVANIA· )
 ·2· ·COUNTY OF ALLEGHENY· · · · · ·)
 ·3· · · · · · · · · · · ·CERTIFICATE
 ·4· ·I, Benjamin Morrow, a Notary Public in and
 ·5· ·for the Commonwealth of Pennsylvania, do hereby
 ·6· ·certify:
 ·7· ·That the witness, John R. Linkosky, whose
 ·8· ·testimony appears in the foregoing deposition, was
 ·9· ·duly sworn by me on 3/22/23 and that the transcribed
 10· ·deposition of said witness is a true record of the
 11· ·testimony given by said witness;That the proceeding
 12· ·is herein recorded fully and accurately;
 13· ·That I am neither attorney nor counsel for,
 14· ·nor related to any of the parties to the action in
 15· ·which these depositions were taken, and further that I
 16· ·am not a relative of any attorney or counsel employed
 17· ·by the parties hereto, or financially interested in
 18· ·this action.
 19· ·Dated the 4th day of April, 2023
 20
 21
 22· ·Benjamin Morrow,
 23· ·Court Reporter
 24
 25


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 ·1· ·Reference No.: 9439585

 ·2

 ·3· ·Case:· WALSH V. INTRA NATIONAL HOME CARE

 ·4
 · · · · ·DECLARATION UNDER PENALTY OF PERJURY
 ·5
 · · · · · I declare under penalty of perjury that
 ·6· ·I have read the entire transcript of my Depo-
 · · ·sition taken in the captioned matter or the
 ·7· ·same has been read to me, and the same is
 · · ·true and accurate, save and except for
 ·8· ·changes and/or corrections, if any, as indi-
 · · ·cated by me on the DEPOSITION ERRATA SHEET
 ·9· ·hereof, with the understanding that I offer
 · · ·these changes as if still under oath.
 10

 11· · · · · ·___________________________

 12· · · · · ·John R. Linkosky

 13

 14· · · · · · ·NOTARIZATION OF CHANGES

 15· · · · · · · · · (If Required)

 16

 17· ·Subscribed and sworn to on the ______ day of

 18

 19· ·__________________________, 20____ before me,

 20

 21· ·(Notary Sign)________________________________

 22

 23· ·(Print Name)· · · · · · · · · · Notary Public,

 24

 25· ·in and for the State of _____________________


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 ·1· ·Reference No.: 9439585
 · · ·Case:· WALSH V. INTRA NATIONAL HOME CARE
 ·2

 ·3· ·Page No._____Line No._____Change to:______________

 ·4· ·__________________________________________________

 ·5· ·Reason for change:________________________________

 ·6· ·Page No._____Line No._____Change to:______________

 ·7· ·__________________________________________________

 ·8· ·Reason for change:________________________________

 ·9· ·Page No._____Line No._____Change to:______________

 10· ·__________________________________________________

 11· ·Reason for change:________________________________

 12· ·Page No._____Line No._____Change to:______________

 13· ·__________________________________________________

 14· ·Reason for change:________________________________

 15· ·Page No._____Line No._____Change to:______________

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 17· ·Reason for change:________________________________

 18· ·Page No._____Line No._____Change to:______________

 19· ·__________________________________________________

 20· ·Reason for change:________________________________

 21· ·Page No._____Line No._____Change to:______________

 22· ·__________________________________________________

 23· ·Reason for change:________________________________

 24
 · · ·SIGNATURE:_______________________DATE:___________
 25· ·John R. Linkosky


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 ·8· ·Reason for change:________________________________

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 11· ·Reason for change:________________________________

 12· ·Page No._____Line No._____Change to:______________

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 14· ·Reason for change:________________________________

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 17· ·Reason for change:________________________________

 18· ·Page No._____Line No._____Change to:______________

 19· ·__________________________________________________

 20· ·Reason for change:________________________________

 21· ·Page No._____Line No._____Change to:______________

 22· ·__________________________________________________

 23· ·Reason for change:________________________________

 24
 · · ·SIGNATURE:_______________________DATE:___________
 25· ·John R. Linkosky


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               EXHIBIT 1
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McKeegan, Hugh

From:                             Meg Subedi <msubedi@intrahc.com>
Sent:                             Tuesday, February 14, 2023 12:07 PM
To:                               McKeegan, Hugh
Subject:                          Fwd: Intra National - Scranton 2021 pay stubs


This is 10/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Fri, Nov 12, 2021 at 10:39 AM
Subject: Intra National - Scranton 2021 pay stubs
To: Meg Subedi <msubedi@intrahc.com>


Meg,

I followed your instructions regarding the thumb drive and that location has only time sheets. I need to see the 2021
pay stubs.

Can you e-mail to me the paystubs of 5-6 DCWs selected at random from each quarter of 2021, instead of all the 2021
paystubs and time sheet?

Thanks, John




John R. Linkosky



John Linkosky & Assoc.

Attorneys at Law

715 Washington Ave

Carnegie, PA 15106

412-278-1280

412-278-1282 (Fax)

linklaw@comcast.net




                                                              1
                                                    Intra-National 043763
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 121 of 153 PAGEID #: 26686




               EXHIBIT 2
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 122 of 153 PAGEID #: 26687


McKeegan, Hugh

From:                             Meg Subedi <msubedi@intrahc.com>
Sent:                             Tuesday, February 14, 2023 12:19 PM
To:                               McKeegan, Hugh
Subject:                          Fwd: DOL-Pittsburgh


This is 25/59

---------- Forwarded message ---------
From: Meg Subedi <msubedi@intrahc.com>
Date: Thu, Jun 25, 2020 at 4:55 PM
Subject: Fwd: DOL-Pittsburgh
To: INTRANATIONAL HOMECARE <dechintranational1@yahoo.com>




---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Mon, Jun 22, 2020 at 2:56 PM
Subject: DOL-Pittsburgh
To: Meg Subedi <msubedi@intrahc.com>
Cc: INTRANATIONAL HOMECARE <dechintranational1@yahoo.com>, Fox, Bruce <bruce.fox@obermayer.com>


Meg,

Please tell me if I understand correctly what was done in regard to overtime as of the first pay period on August 2018.

As of the first pay period of August 20018, the hourly rate paid to caregivers was reduced- For example, Ahmed Nsaif
was paid $12.50 an hour, his rate was reduced to $10.62, and he was paid time and one half that rate thereafter. He
worked a fixed number of hours serving the consumer that were approved by the Service Coordinator. The regular hours
were 124 each pay period. In pay period ending 12/16/18, he worked 116 hours and was paid $10.83 and time and one
half for the overtime. However, during the period 10/22/18 to 11/4/18 he worked 51 hours and was paid $12.50 an
hour. Was it the policy to pay the lower rate when there was overtime, and the higher rate when there was no
overtime?

John



John R. Linkosky



John Linkosky & Assoc.

Attorneys at Law


                                                            1
                                                 Intra-National 043765
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 123 of 153 PAGEID #: 26688
715 Washington Ave

Carnegie, PA 15106

412-278-1280

412-278-1282 (Fax)

linklaw@comcast.net



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Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC

    The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify
    that the link points to the correct file and location.




Phone: 814-218-4970
Fax: 412-881-7101


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Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC

                                                                                                                    2
                                                                                                          Intra-National 043766
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 124 of 153 PAGEID #: 26689



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                                                  Intra-National 043767
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 125 of 153 PAGEID #: 26690




               EXHIBIT 3
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 126 of 153 PAGEID #: 26691


McKeegan, Hugh

From:                             Meg Subedi <msubedi@intrahc.com>
Sent:                             Tuesday, February 14, 2023 12:09 PM
To:                               McKeegan, Hugh
Subject:                          Fwd: Intra-National Home Care - Scranton, Pa.


This is 13/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Wed, Nov 3, 2021 at 2:55 PM
Subject: RE: Intra-National Home Care - Scranton, Pa.
To: Piccillo, Salvatore <sapiccillo@pa.gov>
Cc: Meg Subedi <msubedi@intrahc.com>, Fox, Bruce <bruce.fox@obermayer.com>, Thompson, George
<george.thompson@obermayer.com>


Inspector Piccillo,

I have received the records related to your inquiry, and will review them and report my findings to you.

As promised, here is a description of the program that is involved.

Medicaid eligible individuals can waive their right to enter nursing homes, and apply to have needed services provided in
their homes. Application is made to the State of Pennsylvania Department of Human Services, which has the authority
and responsibility to create and supervise a program to enable treatment for such applicants in their homes, from the
U.S. Department of Health and Human Services The State department employs what are called Managed Care
Organizations (MCOs), to initiate, supervise, and direct the program the State created. Employees of the MCO called
Service Coordinators , determine the eligibility of the applicant, the services to be performed, the hours of service to be
provided, create an Individual Service Plan (ISP),which is sent to the State for approval. Upon approval, the prospective
service provider called a Direct Care Worker (DCW), is selected by the Consumer, (recipient of the services) who also
selects a Provider, which is the role played by Intra National. (IN). The identity of the selected DCW is sent to IN for
vetting according to State requirements. If the proposed DCW passes the tests, he/she can be hired. IN is paid for its
services according to a State schedule of rates, applied in 15 minute increments to the type and hours of service
provided, for each hour of service provided by a DCW. From that amount, IN is to establish a rate of pay for the DCW,
calculate the payroll, pay for all hours worked by the DCW, including overtime pay, pay applicable required taxes (FICA),
absorb administrative costs, and the remainder is compensation for IN for the services provided. The amounts paid by
the State are non-negotiable. The DCW, with the Consumer, reports the hours of service provided, which always match
the total hours to be provided in the ISP, to IN via the MCO, from which IN calculates and pays the DCW. IN has no
control whatsoever over the hours to be worked by the DCW, the duties to be performed, the selection the of the DCW,
or any aspect of employment of the DCW. IN is essentially a payroll service

The U.S. Department of Labor, Wage-Hour Division, has conducted investigations of Intra National in Pennsylvania and
Ohio, pursuant to the Fair Labor Standards Act , (FLSA), the compliment to the PMWA. Intra National has taken the
position that Intra National is not an employer of the DCWs pursuant to the above facts of the relationship of Intra
National to the DCWs. It is the position of Intra National that the State of Pennsylvania and the MCO are the joint
employers of the DCWs. Those cases are in litigation in the respective federal courts for the Western District of
Pennsylvania and the Southern District of Ohio. Due to the fact that the PMWA is interpreted in light of the FLSA, It
seems to be practical to forego a PMWA investigation pending resolution of the federal cases., and I suggest that.
                                                             1
                                                  Intra-National 042561
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 127 of 153 PAGEID #: 26692
However, you have informed me that you have evidence of the payment of straight time for all of 113 hours worked in a
2 week pay period. My review and familiarity with the payroll practices of Intra National lead me to believe that to be
improbable,

but my experience in the area of overtime pay tells me that it may not be impossible. If you can provide me with the
name of the DCW who had that experience, I assure you that I will thoroughly pursue its resolution.

If you have any questions, or need further explanation, Call me.

John R. Linkosky, Esq.




From: Piccillo, Salvatore <sapiccillo@pa.gov>
Sent: Tuesday, November 2, 2021 8:59 AM
To: linklaw@comcast.net
Cc: Hickey, Joseph <jhickey@pa.gov>
Subject: Intra-National Home Care




Attorney Lincosky:     As per our conversation on 11/2/21 I will be awaiting the summary of your position on the case
discussed.



Thank you, Salvatore



Salvatore Piccillo / Labor Law Investigator

Bureau of Labor Law Compliance

Pennsylvania Department of Labor & Industry

201-B State Office Building


                                                             2
                                                  Intra-National 042562
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 128 of 153 PAGEID #: 26693
100 Lackawanna Avenue / Scranton PA 18503

Phone: 570-954-8710 / Email: sapiccillo@pa.gov




--
Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC



Phone: 814-218-4970
Fax: 412-881-7101


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                                                  Intra-National 042563
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 129 of 153 PAGEID #: 26694




               EXHIBIT 4
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 130 of 153 PAGEID #: 26695


McKeegan, Hugh

From:                              Meg Subedi <msubedi@intrahc.com>
Sent:                              Tuesday, February 14, 2023 12:09 PM
To:                                McKeegan, Hugh
Subject:                           Fwd: Scranton investigation


This is 14/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Wed, Oct 13, 2021 at 10:16 AM
Subject: Scranton investigation
To: Meg Subedi <msubedi@intrahc.com>


Meg,

I hope your Mom is doing better.

I need a firm date and time when I can look at the Scranton records.




As you know the practice of reducing the rate of pay when the hours worked exceed the standard hours was a practice
with almost all Nepali Providers. I have some of those cases and I have defenses that have been developed in the USDOL
cases that may be claimed in a State action. The State law is very similar to the federal law, and is interpreted in light of
federal law. We can discuss those when we meet and I can explain them. Before any decision can be proposed, I must
have a complete understanding of what went on in Scranton for the last two years. You can call me if you choose to
discuss this. There are a number of things to discuss regarding the entire situation.

John

John R. Linkosky



John Linkosky & Assoc.

Attorneys at Law

715 Washington Ave

Carnegie, PA 15106

412-278-1280

412-278-1282 (Fax)

                                                              1
                                                   Intra-National 042564
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 131 of 153 PAGEID #: 26696
linklaw@comcast.net



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Chief Finance Officer
Intra-National Homecare, LLC



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                                                   Intra-National 042565
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 132 of 153 PAGEID #: 26697




               EXHIBIT 5
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 133 of 153 PAGEID #: 26698


McKeegan, Hugh

From:                               Meg Subedi <msubedi@intrahc.com>
Sent:                               Tuesday, February 14, 2023 12:11 PM
To:                                 McKeegan, Hugh
Subject:                            Fwd: SCR SAMPLE


This is 17/59

---------- Forwarded message ---------
From: Linklaw <linklaw@comcast.net>
Date: Sat, Oct 2, 2021 at 1:07 PM
Subject: Re: SCR SAMPLE
To: Meg Subedi <msubedi@intrahc.com>
Cc: John Linkosky <linklaw@comcast.net>


Thanks, Meg. Has Intra National stopped reducing the regular rate when more than the scheduled hours are worked by
a DCW at all locations, and if so when? I also have another issue to discuss. I will call you.
John




Sent from my iPad



        On Sep 30, 2021, at 1:39 PM, Meg Subedi <msubedi@intrahc.com> wrote:


        TRY THIS ONE

        On Thu, Sep 30, 2021 at 9:49 AM John R. Linkosky <linklaw@comcast.net> wrote:

           Meg,

           I cannot open all the records sent. Please end those that are not PDF in PDF.

           Thanks. John




           From: Meg Subedi <msubedi@intrahc.com>
           Sent: Wednesday, September 29, 2021 4:22 PM
           To: John R. Linkosky <linklaw@comcast.net>
           Subject: SCR SAMPLE
                                                              1
                                                   Intra-National 042566
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 134 of 153 PAGEID #: 26699



          KADARIYA DIL M TS 2019.pdf


          kadariya DIL M TS 2020.pdf




     --

     Thank You




     Meg Subedi

     Chief Finance Officer

     Intra-National Homecare, LLC




     Phone: 814-218-4970

     Fax: 412-881-7101




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                                              Intra-National 042567
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 135 of 153 PAGEID #: 26700
        Thank You



        Meg Subedi
        Chief Finance Officer
        Intra-National Homecare, LLC



        Phone: 814-218-4970
        Fax: 412-881-7101


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        <SAPKOTA CHET PS 2021.webloc>
        <SAPKOTA CHET PS 2020.pdf>
        <SAPKOTA CHET PS 2019.pdf>
        <SAPKOTA CHET 2019 TS.pdf>




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Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC



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Fax: 412-881-7101


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                                                             3
                                                  Intra-National 042568
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 136 of 153 PAGEID #: 26701


McKeegan, Hugh

From:                            Meg Subedi <msubedi@intrahc.com>
Sent:                            Tuesday, February 14, 2023 12:11 PM
To:                              McKeegan, Hugh
Subject:                         Fwd: Scranton Investigation b PMWA


This is 18/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Thu, Sep 23, 2021 at 12:42 PM
Subject: RE: Scranton Investigation b PMWA
To: Meg Subedi <msubedi@intrahc.com>


Thanks, Meg. Just give me a time and date except for 9/27/2021.

John




From: Meg Subedi <msubedi@intrahc.com>
Sent: Thursday, September 23, 2021 12:38 PM
To: John R. Linkosky <linklaw@comcast.net>
Subject: Re: Scranton Investigation b PMWA



Sure

I will arrange next week.



On Thu, Sep 23, 2021 at 12:30 PM John R. Linkosky <linklaw@comcast.net> wrote:

 Meg,

 John

 Thanks for getting back to me. Do you have time for me to come over and look at a sample of the records, and some
 time sheets. I have never seen records from Scranton.

 Maybe we can save some rime.

 John



                                                          1
                                               Intra-National 042569
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 137 of 153 PAGEID #: 26702




               EXHIBIT 6
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 138 of 153 PAGEID #: 26703


McKeegan, Hugh

From:                            Meg Subedi <msubedi@intrahc.com>
Sent:                            Tuesday, February 14, 2023 12:11 PM
To:                              McKeegan, Hugh
Subject:                         Fwd: Scranton Investigation b PMWA


This is 18/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Thu, Sep 23, 2021 at 12:42 PM
Subject: RE: Scranton Investigation b PMWA
To: Meg Subedi <msubedi@intrahc.com>


Thanks, Meg. Just give me a time and date except for 9/27/2021.

John




From: Meg Subedi <msubedi@intrahc.com>
Sent: Thursday, September 23, 2021 12:38 PM
To: John R. Linkosky <linklaw@comcast.net>
Subject: Re: Scranton Investigation b PMWA



Sure

I will arrange next week.



On Thu, Sep 23, 2021 at 12:30 PM John R. Linkosky <linklaw@comcast.net> wrote:

 Meg,

 John

 Thanks for getting back to me. Do you have time for me to come over and look at a sample of the records, and some
 time sheets. I have never seen records from Scranton.

 Maybe we can save some rime.

 John



                                                          1
                                               Intra-National 042569
 Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 139 of 153 PAGEID #: 26704

From: Meg Subedi <msubedi@intrahc.com>
Sent: Thursday, September 23, 2021 11:54 AM
To: John R. Linkosky <linklaw@comcast.net>
Subject: Re: Scranton Investigation b PMWA



JOHN

I am working on it. It might take 2 weeks at max to complete it.



On Tue, Sep 21, 2021 at 12:08 PM John R. Linkosky <linklaw@comcast.net> wrote:

 Meg,




 John R. Linkosky



 John Linkosky & Assoc.

 Attorneys at Law

 715 Washington Ave

 Carnegie, PA 15106

 412-278-1280

 412-278-1282 (Fax)

 linklaw@comcast.net



                                                           2
                                                Intra-National 042570
      Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 140 of 153 PAGEID #: 26705
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 Thank You




 Meg Subedi

 Chief Finance Officer

 Intra-National Homecare, LLC




 Phone: 814-218-4970

 Fax: 412-881-7101




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                                                     Intra-National 042571
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 141 of 153 PAGEID #: 26706




Meg Subedi

Chief Finance Officer

Intra-National Homecare, LLC




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Chief Finance Officer
Intra-National Homecare, LLC



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Fax: 412-881-7101


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                                                             4
                                                  Intra-National 042572
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 142 of 153 PAGEID #: 26707


McKeegan, Hugh

From:                              Meg Subedi <msubedi@intrahc.com>
Sent:                              Tuesday, February 14, 2023 12:10 PM
To:                                McKeegan, Hugh
Subject:                           Fwd: Ambika bhattarai
Attachments:                       AMBIKA BHATTARAI.pdf.webloc; AMBIKA BHATTARAI PAYSTUB 2019.pdf; AMBIKA
                                   BHATTARAI EVV MIS PUNCH 2020.pdf; AMBIKA BHATTARAI 2021 EVV MIS PUNCH
                                   2021.pdf; AMBIKA BHATTARAI TIME SHEET 2020.pdf


This is 16/59

---------- Forwarded message ---------
From: Meg Subedi <msubedi@intrahc.com>
Date: Mon, Oct 4, 2021 at 10:22 AM
Subject: Ambika bhattarai
To: John R. Linkosky <linklaw@comcast.net>



   AMBIKA BHATTARAI TIME SHEET 2019.pdf

   AMBIKA BHATTARAI TIME SHEET 2019.pdf




--
Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC



Phone: 814-218-4970
Fax: 412-881-7101


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                                                  Intra-National 042573
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 143 of 153 PAGEID #: 26708




               EXHIBIT 7
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 144 of 153 PAGEID #: 26709


McKeegan, Hugh

From:                             Meg Subedi <msubedi@intrahc.com>
Sent:                             Tuesday, February 14, 2023 12:07 PM
To:                               McKeegan, Hugh
Subject:                          Fwd: Intra National - Scranton 2021 pay stubs


This is 10/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Fri, Nov 12, 2021 at 10:39 AM
Subject: Intra National - Scranton 2021 pay stubs
To: Meg Subedi <msubedi@intrahc.com>


Meg,

I followed your instructions regarding the thumb drive and that location has only time sheets. I need to see the 2021
pay stubs.

Can you e-mail to me the paystubs of 5-6 DCWs selected at random from each quarter of 2021, instead of all the 2021
paystubs and time sheet?

Thanks, John




John R. Linkosky



John Linkosky & Assoc.

Attorneys at Law

715 Washington Ave

Carnegie, PA 15106

412-278-1280

412-278-1282 (Fax)

linklaw@comcast.net




                                                              1
                                                    Intra-National 043763
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 145 of 153 PAGEID #: 26710
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Intra-National Homecare, LLC



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                                                   Intra-National 043764
Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 146 of 153 PAGEID #: 26711




               EXHIBIT 8
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 147 of 153 PAGEID #: 26712


McKeegan, Hugh

From:                             Meg Subedi <msubedi@intrahc.com>
Sent:                             Tuesday, February 14, 2023 12:19 PM
To:                               McKeegan, Hugh
Subject:                          Fwd: DOL-Pittsburgh


This is 25/59

---------- Forwarded message ---------
From: Meg Subedi <msubedi@intrahc.com>
Date: Thu, Jun 25, 2020 at 4:55 PM
Subject: Fwd: DOL-Pittsburgh
To: INTRANATIONAL HOMECARE <dechintranational1@yahoo.com>




---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Mon, Jun 22, 2020 at 2:56 PM
Subject: DOL-Pittsburgh
To: Meg Subedi <msubedi@intrahc.com>
Cc: INTRANATIONAL HOMECARE <dechintranational1@yahoo.com>, Fox, Bruce <bruce.fox@obermayer.com>


Meg,

Please tell me if I understand correctly what was done in regard to overtime as of the first pay period on August 2018.

As of the first pay period of August 20018, the hourly rate paid to caregivers was reduced- For example, Ahmed Nsaif
was paid $12.50 an hour, his rate was reduced to $10.62, and he was paid time and one half that rate thereafter. He
worked a fixed number of hours serving the consumer that were approved by the Service Coordinator. The regular hours
were 124 each pay period. In pay period ending 12/16/18, he worked 116 hours and was paid $10.83 and time and one
half for the overtime. However, during the period 10/22/18 to 11/4/18 he worked 51 hours and was paid $12.50 an
hour. Was it the policy to pay the lower rate when there was overtime, and the higher rate when there was no
overtime?

John



John R. Linkosky



John Linkosky & Assoc.

Attorneys at Law


                                                            1
                                                 Intra-National 043765
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 148 of 153 PAGEID #: 26713
715 Washington Ave

Carnegie, PA 15106

412-278-1280

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Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC

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Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC

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                                                                                                          Intra-National 043766
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               EXHIBIT 9
  Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 151 of 153 PAGEID #: 26716


McKeegan, Hugh

From:                            Meg Subedi <msubedi@intrahc.com>
Sent:                            Tuesday, February 14, 2023 12:16 PM
To:                              McKeegan, Hugh
Subject:                         Fwd: Records


This is 21/59

---------- Forwarded message ---------
From: John R. Linkosky <linklaw@comcast.net>
Date: Thu, Jul 2, 2020 at 11:57 AM
Subject: RE: Records
To: Meg Subedi <msubedi@intrahc.com>


Are the records sent at 11:00 AM Wednesday, payroll or calculations?




From: Meg Subedi <msubedi@intrahc.com>
Sent: Thursday, July 2, 2020 11:27 AM
To: John R. Linkosky <linklaw@comcast.net>
Subject: Re: Records



$13



On Thu, Jul 2, 2020 at 11:09 AM John R. Linkosky <linklaw@comcast.net> wrote:

 Meg,

 Please send the records sent in Google drive to me in Excel. Thanks. I have reviewed some of those from 2017 that
 were not in Google drive, those sent at 11:00 AM on Wednesday. I see overtime apparently calculated at $6.50 an
 hour. What was the rate paid for the first 80 hours?

 John




 John R. Linkosky




                                                          1
                                                Intra-National 043768
     Case: 2:21-cv-05076-EAS-KAJ Doc #: 101-1 Filed: 06/21/24 Page: 152 of 153 PAGEID #: 26717
 John Linkosky & Assoc.

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Thank You




Meg Subedi

Chief Finance Officer

Intra-National Homecare, LLC




Phone: 814-218-4970

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                                                             2
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Thank You



Meg Subedi
Chief Finance Officer
Intra-National Homecare, LLC



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